                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE


         In re:                                                               Chapter 11

         RMH FRANCHISE HOLDINGS, INC., et al.,3                               Case No. 18-11092 (BLS)

                            Debtors.                                          (Jointly Administered)


         DINE BRANDS GLOBAL, INC.,
         APPLEBEE’S RESTAURANTS LLC, and
         APPLEBEE’S FRANCHISOR LLC                                            Adv. Pro. No. 18-50481 (BLS)

                            Plaintiffs,

                            v.

         RMH FRANCHISE HOLDINGS, INC.,                                        DEBTORS’ ANSWER AND
         NULNK, INC., RMH ILLINOIS, LLC, RMH                                  COUNTERCLAIMS TO APPLEBEE’S
         FRANCHISE CORP., and CONTEX                                          COMPLAINT
         RESTAURANTS, INC.,

                            Defendants.


         RMH FRANCHISE HOLDINGS, INC.,
         NULNK, INC., RMH ILLINOIS, LLC, RMH
         FRANCHISE CORP., and CONTEX
         RESTAURANTS, INC.,

                            Counterclaim Plaintiffs,

                            v.

         DINE BRANDS GLOBAL, INC.,
         APPLEBEE’S RESTAURANTS LLC, and
         APPLEBEE’S FRANCHISOR LLC

                            Counterclaim Defendants.




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                   The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: RMH Franchise
         Holdings, Inc. (7150); NuLnk, Inc. (7381); RMH Illinois, LLC (0696); RMH Franchise Corporation (1807); and Contex
         Restaurants, Inc. (0710). The headquarters for the above-captioned Debtors is located at One Concourse Parkway, N.E. Suite
         600, Atlanta, GA 30328.

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                  RMH Franchise Holdings, Inc. and its affiliated debtors and debtors in possession in the

         above-captioned chapter 11 cases (collectively, the “Debtors”), by their undersigned attorneys,

         hereby answer the Complaint [Adv. Docket No. 1] (the “Complaint”) filed by Dine Brands

         Global, Inc. (“Dine Brands”), Applebee’s Restaurants LLC, and Applebee’s Franchisor LLC

         (collectively, the “Franchisor”)4 as follows:

                                               PRELIMINARY STATEMENT

                  The heart of the Applebee’s brand is its unique “System.” Indeed, the very first Recital

         in an Applebee’s Franchise Agreement emphasizes the importance of “the System,” defined as

         Applebee’s “designs, decor and color schemes for restaurant premises, signs, equipment,

         procedures and formulae for preparing food and beverage products, specifications for certain

         food and beverage products, inventory methods, operating methods, financial control concepts,

         training facilities and teaching techniques.” The System was the very foundation of the bargain

         between the Franchisor and its franchisees.

                  The Debtors became Applebee’s franchisees beginning in 2012 because they believed in

         the Applebee’s System, which had an established track record of success and profitability,

         earning Applebee’s pride of place among bar-and-grill franchises. Over the following years, the

         Debtors, with the full support of the Franchisor, doubled down on their belief in the Applebee’s

         System, investing substantial capital to expand their operations to become the second-largest

         Applebee’s franchisee in the world. Specifically, the Debtors made additional acquisitions in

         2013 and 2015 to help consolidate and improve Dine Brands’ performance, with express

         assurances from Steven R. Layt, Applebee’s President at the time, that certain of the stores

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          For ease of reference, and due to the difficulty differentiating between the web of entities associated with Dine
         Brands and/or Applebee’s that interacted with RMH, the plaintiffs-counterclaim defendants often are referred to
         herein, collectively, as “Franchisor.” Where possible, the Debtors have attempted to differentiate between the
         entities, but the use of the term “Franchisor” should not be construed as an admission by the Debtors as to the
         activities of one entity or another or otherwise used against the Debtors for any purpose.
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         acquired in the 2015 acquisition could be closed without penalty if performance did not improve.

         As it turned out, Dine Brands’ CEO, Julia Stewart, later reneged on those assurances.

                 After decades of success under the System, the foundations of Applebee’s success (and,

         in turn, that of its franchisees) began to crumble in 2014 as a result of the Franchisor’s

         mismanagement. In November 2014, after Jeff Neumann, the Debtors’ founder and CEO (at the

         time), was elected to Applebee’s Franchise Brand Council (the “FBC”), the Debtors became

         concerned that the defining characteristics of Ms. Stewart’s tenure would be chaos and a clear

         lack of leadership. Among other things, her decision to move the Applebee’s headquarters from

         its Kansas City home to Dine Brands’ California location had significant deleterious effects,

         resulting in the departure of large swaths of the personnel who had made Applebee’s what it was.

         As a result of this exodus, resulting in a massive loss of institutional knowledge, and Ms.

         Stewart’s misguided leadership, the Franchisor quickly lost touch with the Applebee’s brand,

         with key positions either left unfilled for years or filled by newcomers without relevant

         restaurant industry experience or a clear sense of Applebee’s roots.

                 The Franchisor’s mismanagement under Ms. Stewart reached its crescendo in the fall of

         2015 with the announcement that the Franchisor would be abandoning the proven and unique

         System that was at the heart of its relationship with its franchisees—and the Debtors’ decision to

         become Applebee’s franchisees in the first place—in an attempt to win over “millennials” (the

         “System Change”). In announcing its System Change, the Franchisor explicitly stated its

         intention to make Applebee’s into a “different place than [its customers] remember[ed].”

                 Before it was even rolled out, the Franchisor had every indication that the System Change

         would be a failure. Indeed, the Franchisor’s testing, which was results-oriented and selectively

         disclosed to its franchisees, foretold that the System Change was destined to fail. Likewise,


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         franchisees made their displeasure with the System Change known to the Franchisor, both

         directly and through the FBC, an advisory group for Applebee’s franchisees. Yet the Franchisor

         ignored its franchisees’ reasoned positions criticizing the changes.

                 Instead, without any other ideas, the Franchisor plowed forward with the System Change,

         foisting all of the burdens, costs and risks onto its franchisees. Indeed, in another break with the

         manner in which Applebee’s traditionally had been run, the Franchisor had sold all of the

         Franchisor-owned locations by the time of the System Change, and thus, it was all too aware that

         100% of the capital investment and risk associated with the System Change would be borne by

         the franchisees, as well as that 100% of the advertising fund used to roll out the System Change

         would be paid by the franchisees. The Franchisor was not concerned that the System Change

         would require huge capital expenditures and increased food costs—franchisees’ profits would

         decrease but not the royalty fees due to the Franchisor, which were based on gross revenues, not

         profit. The Franchisor exploited this disparity, forcing the System Change on the franchisees

         without due regard for the overall best interests of the System or for the financial burden that

         would be borne by the franchisees, in direct contravention of the Franchise Agreements.

                 Predictably, the System Change was a colossal failure. Independent assessments by the

         consultant hired by the Franchisor concluded that the Franchisor’s decision-making process was

         fundamentally flawed and that the Franchisor had failed to adequately test its proposed System

         Change or understand its impact before causing franchisees to implement it. In the aftermath,

         the Franchisor itself acknowledged “tactical missteps” with its current President conceding its

         negligence, stating that, “[c]andidly, I think we’ve taken our eye off our core value proposition

         over time” and that it was “very clear from the data” that Applebee’s had “alienated some core

         guests” with its System Change (to say nothing of its devoted franchisees). Of course, the


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         destruction that the Franchisor wrought could have been avoided if it had properly tested the

         System Change and listened to its franchisees.

                 The impact of the System Change on the Debtors was catastrophic. All told, the System

         Change cost the Debtors approximately $2.9 million to implement, with $1.6 million attributable

         to capital expenditures and $1.3 million attributable to labor costs—to say nothing of the

         Debtors’ lost traffic and profits, which had a multiplier effect on the Debtors’ enterprise value.

         By way of illustration, the System Change caused the Debtors’ revenue to fall 8.8%, and their

         EBITDA to fall 22%, in the year after the implementation of the System Change. The damage

         wrought on the broader franchise network was also significant. One measure of just how

         destructive the Franchisor’s actions have been not just to the Debtors but to the entire franchise

         network is the seven-fold increase in Dine Brands’ bad-debt reserve and its write-off of $358.2

         million for Applebee’s goodwill and $173.4 million for Applebee’s tradename in fiscal year

         2017.

                 The Franchisors’ indifference to the franchisees, including Debtors, is further evidenced

         by the Franchisor’s unilateral decision to devote nearly the entire franchisee-funded advertising

         budget (to the tune of approximately $75 million borne by the franchisees) to the System

         Change, leaving the Applebee’s brand unable to pivot after the System Change failed and

         resulting in a 72% drop in the number of commercials Applebee’s was able to air in the two

         months following launch of the System Change. As the New York Daily News put it at the time,

         “[n]ever has one company spent so much on so little.” Indeed, the Franchisor depleted its

         advertising budget on the doomed System Change, and was forced to reduce its advertising by at

         least 50% in the wake of the System Change’s destruction. In the end, the System Change not

         only caused the closure of a number of franchises, including franchises owned by the Debtors, it


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         also caused the Applebee’s brand to fall far behind comparable bar-and-grill peers. Dine

         Brands’ board, meanwhile, appeared to merely sit back and watch as Applebee’s unraveled,

         effectively taking no action at all until the FBC finally demanded that the board get involved.

                 In sum, the System Change from the outset confounded reasonable business judgment,

         was a material breach of the Franchise Agreements, and violated the covenants of good faith, fair

         dealing, and competence implicit in those agreements.

                 Yet the harm inflicted on the Debtors by the Franchisor did not stop there. The harm was

         further compounded by the Franchisor’s purported termination of the Franchise Agreements,

         which itself constituted a breach of those agreements and of the implied covenants, and was

         improper and ineffective for numerous reasons. Section 19.1 of the Franchise Agreements states

         that the “Franchisor shall have the right to terminate this Agreement immediately upon written

         notice to Franchisee stating the reason for such termination . . . .” On September 20, 2017, the

         Franchisor sent a letter declaring a default and stating that, unless the Debtors paid the overdue

         royalty fees within 90 days, the Franchise Agreements would terminate without the notice

         required under those agreements. This “Notice of Default” (as the Franchisor characterizes the

         letter in its Complaint) advised the Debtors of the potential for termination of the various

         Franchise Agreements but was not itself the notice of termination required under those

         agreements. When the Franchisor later sent another letter stating the Franchise Agreements for

         the Debtors’ Arizona and Texas locations were terminated, the Franchisor purported to rely on

         its earlier Notice of Default as a basis for retroactive termination of those agreements. Even

         assuming for the sake of argument that this purported notice of termination would have been

         effective as to the various Franchise Agreements, it was not delivered until after the Petition Date

         and was void ab initio as a violation of the automatic stay. But the fact that Franchisor sent a


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         letter specifically purporting to terminate the Franchise Agreements for the Debtors’ Arizona and

         Texas locations belies its current contention that the Notice of Default was the termination notice

         required under the various Franchise Agreements and was itself sufficient to terminate the

         Franchise Agreements for the remainder of the Debtors’ locations. Moreover, the Franchisor

         sent the purported termination notice abruptly, as soon as it became clear that the Applebee’s

         brand was starting to recover and only after stringing the Debtors along in workout negotiations

         for 16 months, all of which demonstrates that the Franchisor’s attempt to terminate those

         Franchise Agreements was nothing more than a pretext for its ultimate goal of recapturing

         certain high-performing locations close to its California headquarters, as new management

         sought to return to a paradigm involving company-owned franchises. Therefore, in addition to

         the damages for the Franchisor’s bad-faith breach of the Franchise Agreements (and any

         attorneys’ fees incurred in connection herewith), the Debtors are thus further entitled to a

         declaratory judgment that the Franchise Agreements were not terminated prior to the Petition

         Date but are property of the Debtors’ estates.

                 Finally, adding insult to the injury, the Franchisor announced on June 11, 2018, that it

         intended to rebrand IHOP to become “IHOb”—the “b” standing for “burgers.” Yet much of the

         recent Applebee’s advertising campaign—for which Dine Brands asked Applebee’s franchisees

         to pay for an increased portion of the bill—is focused on advertising burgers. Indeed, in a recent

         Dine Brands’ earnings call, Dine Brands’ CEO Steve Joyce promised to continue to position

         Applebee’s with its traditional customers and touted the new burger menu’s popularity with

         millennial consumers. Thus, the Franchisor’s “IHOb” maneuver only served to exacerbate the

         challenges facing the Applebee’s brand. Moreover, Dine Brands unveiled its ballyhooed

         rebranding of IHOP at the same time that Applebee’s was debuting an innovative new


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         technology that allows customers to order ahead so that their food is ready upon their arrival at

         the restaurant. Dine Brand’s promotion of the IHOb rebranding overshadowed Applebee’s own

         initiative. While Dine Brands clearly is indifferent to the IHOb’s direct competition with

         Applebee’s franchises, the Debtors are not.

                 Dine Brands’ actions demonstrate its complete lack of concern for the Applebee’s

         franchisee community. The decision to abruptly abandon confidential, good-faith negotiations

         with the Debtors and to make their disputes public has put the Applebee’s brand in a bad light

         and created a tremendous distraction for franchisees and other stakeholders at a time when the

         brand was starting to recover but still in need of direction.

                 For all of the foregoing reasons, and as further set forth herein, the Debtors should be

         recompensed for the enterprise value that the Franchisor has destroyed and should be permitted

         the opportunity to pursue a chapter 11 plan of reorganization to maximize the value of their

         assets free from the Franchisor’s improper and unwarranted attempts to exercise control over

         those assets.

                                              Jurisdiction and Venue

                 1.     This Court has subject-matter jurisdiction over this adversary proceeding pursuant
         to 28 U.S.C. §§ 157 and 1334. The above-captioned bankruptcy cases (the “Cases”) are
         currently pending before this Court.

                 ANSWER:        Admitted.

                2.     Venue of this adversary proceeding is proper in this district pursuant to 28 U.S.C.
         § 1408 and 1409(a).

                 ANSWER:        Admitted.

                 3.      Certain aspects of this adversary proceeding are core matters pursuant to 28
         U.S.C. § 157 or Bankruptcy Rule 7001 and other aspects are non-core matters. This action arises
         under the Bankruptcy Code, involves alleged property of the applicable Debtors’ estates, and
         arises in and is related to the applicable Debtor’s chapter 11 case. Applebee’s reserves all rights
         as to non-core matters including any non-core matters which may be raised in response to this
         Adversary Complaint or otherwise.
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                   ANSWER:      The allegations in Paragraph 3 constitute legal conclusions to which no

         response is required. To the extent that a response is required, the allegations in Paragraph 3 are

         denied.

                                                       Parties

                 4.      Plaintiff Dine Brands Global Inc. (“Dine Brands”) is a Delaware corporation with
         its principal place of business in Glendale, California.

                   ANSWER:      Admitted upon information and belief.

                  5.    Applebee’s Restaurants LLC (“Applebee’s Restaurants”) is a Delaware limited
         liability company with its principal place of business in Glendale, California.

                   ANSWER:      Admitted upon information and belief.

                  6.    Applebee’s Franchisor LLC (“Applebee’s Franchisor”) is a Delaware limited
         liability company with its principal place of business in Glendale, California.

                   ANSWER:      Admitted upon information and belief.

                7.      The ultimate parent company of Applebee’s Restaurants and Applebee’s
         Franchisor is Dine Brands.

                   ANSWER:      Admitted upon information and belief.

                 8.      Defendants RMH Franchise Holdings, Inc., NuLnk, Inc. and RMH Illinois, LLC
         are Delaware corporations. Defendant RMH Franchise Corp. is a Kansas corporation.
         Defendant Contex Restaurants, Inc. is a Texas corporation. The headquarters of all Defendants
         is located at One Concourse Parkway, N.E., Suite 600, Atlanta, GA 30328.

                   ANSWER:      Admitted.

                 9.      Some of the Defendants were either franchisees, or guarantors of the financial
         obligations of franchisees, for the Applebee’s restaurants as listed and noted in Exhibit 1 hereto
         (the “RMH Restaurants”).

                   ANSWER:      The Debtors admit that some of the Debtors are either franchisees, or

         guarantors of the financial obligations of franchisees, for the Applebee’s restaurants as listed and

         noted in Exhibit 1 to the Complaint. The remaining allegations in Paragraph 9 are denied.

               10.     Applebee’s is a franchisor of a nationally recognized chain of restaurants, and
         Applebee’s brand and image are key to the overall value and success of the Applebee’s franchise

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         system. Applebee’s brand and image are based principally on the use of certain trademarks (the
         “Marks”) that Applebee’s owns and licenses to authorized franchisees.

                 ANSWER:        The Debtors admit that the Franchisor is a franchisor of a chain of

         restaurants and that the Franchisor owns and licenses the Marks to franchisees. The remaining

         allegations in Paragraph 10 are denied.

                11.    Applebee’s spends substantial sums for advertising and promotion of the Marks.
         The Marks are distinctive, widely recognized, and engender a substantial amount of goodwill
         and consumer association.

                 ANSWER:        The Debtors are without knowledge or information sufficient to form a

         belief as to the truth or falsity of the allegations in Paragraph 11, and on that basis deny them.

                           Factual Allegations Applicable To All Counts For Relief

                 The Franchise Agreements

                 12.     The Defendants’ license to use the Marks and right to operate the RMH
         Restaurants was governed by individual franchise agreements (the “Franchise Agreements”) with
         Applebee’s for each of the RMH Restaurants. A Form Franchise Agreement is attached hereto
         as Exhibit 2. The Franchise Agreements required the Defendants to, among other things, pay
         certain royalties and other fees to Applebee’s as consideration for the use of the Marks. A failure
         to pay such fees and royalties was expressly considered a material breach under the Franchise
         Agreements and entitled Applebee’s to terminate the Franchise Agreements “immediately upon
         written notice to [the Defendants].” (Exhibit 2, Form Franchise Agreement, Section 19.1(a).)

                 ANSWER:        The Debtors admit that a Form Franchise Agreement is attached to the

         Complaint as Exhibit 2. By way of further answer, the Debtors state that the various Franchise

         Agreements are not identical and that each Franchise Agreement is the best evidence of its

         respective contents. The remaining allegations in Paragraph 12 constitute legal conclusions to

         which no response is required. To the extent a response is required, the remaining allegations in

         Paragraph 12 are denied.

                 13.     In addition to outlining Applebee’s right to terminate for non-payment of royalties
         and other fees, the Franchise Agreements also outlined in detail the Defendants’ duties and
         obligations upon termination and the post-termination rights of Applebee’s. Specifically, the
         Franchise Agreements provided for the following upon termination:

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                 •   Ceasing Use of the Marks: “[The Defendants] shall immediately discontinue use of
                     the System and its use of the Marks and other identifying characteristics.”

                 •   De-Identification of the RMH Restaurants: “[I]f the Restaurant premises are owned
                     by [the Defendants] or leased from a third party, [the Defendants] shall, upon demand
                     by [Applebee’s], remove (at [the Defendants’] expense) the Marks, sign facia, and
                     other identifying characteristics from all premises, and paint all premises and other
                     improvements maintained pursuant to this Agreement a design and color which is
                     basically different from [Applebee’s] authorized design and color.”

                 •   Ceasing Operation of the RMH Restaurants: “[The Defendants] shall not thereafter
                     use the Marks or any other trademark, trade name, service mark, logo, insignia,
                     slogan, emblem, symbol, design or other identifying characteristic that is in any way
                     associated with [Applebee’s], or use any food or proprietary menu item, recipe or
                     method of food preparation or operate or do business under any name or in any
                     manner that might tend to give the public the impression that [the Defendants are] or
                     [were] a licensee or franchisee of, or otherwise associated with, [Applebee’s] or its
                     affiliated companies.”

         (See Exhibit 2, Form Franchise Agreement, Section 19.2(a)-(c).)

                 ANSWER:        The Debtors admit that the Form Franchise Agreement contains the

         language quoted in Paragraph 13. The remaining allegations in Paragraph 13 constitute legal

         conclusions to which no response is required. To the extent a response is required, the remaining

         allegations in Paragraph 13 are denied. By way of further answer, the Debtors state that the

         various Franchise Agreements are the best evidence of their respective contents.

                 14.     In the event of termination of the Franchise Agreements where the Defendants
         leased the real-estate for the restaurants—which was the situation for nearly all of the RMH
         Restaurants—the Franchise Agreements afforded Applebee’s important rights wherein
         Applebee’s could step into the shoes of the Defendants on the leases and purchase the RMH
         Restaurants’ equipment, furnishings, supplies, and other products. Specifically, the Franchise
         Agreements provided as follows:

                 •   Requirement that leases be assignable to Applebee’s: “If the Restaurant premises are
                     leased by [the Defendants] from a third party, such lease must allow [the Defendants]
                     to assign the lease to [Applebee’s].”

                 •   Right to Assignment of the Leases and Surrender of the Premises: “Upon termination
                     of this Agreement for any reason, [Applebee’s] has the right, exercisable upon written
                     notice to [the Defendants] within thirty (30) days after termination is effective, to
                     require [the Defendants] to assign all [the Defendants’] rights and obligations under

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                     the lease to [Applebee’s] and to immediately surrender possession of the premises,
                     including all fixtures and leasehold improvements, to [Applebee’s].”

                 •   Right to Purchase Equipment, Furnishings, and Supplies: “If [Applebee’s] exercises
                     that right [of assignment and surrender of the premises], it has an additional right, to
                     be exercised within thirty (30) days after taking possession of the premises, to
                     purchase all of [the Defendants] equipment, signs, decor items, furnishings, supplies
                     and other products and materials at their then-fair market value. If the parties cannot
                     agree on the price, the price will be determined in the matter set forth in connection
                     with Franchisee-owned Restaurant premises [i.e., by a panel of three appraisers with
                     each party choosing one appraiser and the two appraisers choosing the third.]”

         (See Exhibit 2, Form Franchise Agreement, Section 19.4(f).)

                 ANSWER:        The Debtors admit that the Form Franchise Agreement contains the

         language quoted in Paragraph 14. The remaining allegations in Paragraph 14 constitute legal

         conclusions to which no response is required. To the extent a response is required, the remaining

         allegations in Paragraph 14 are denied. By way of further answer, the Debtors state that the

         various Franchise Agreements are the best evidence of their respective contents.

                  15.    Further, pursuant to Applebee’s right under the Franchise Agreements to require
         assignment of any real-estate lease for the RMH Restaurants, there is a form rider which is
         attached to and made a part of the Defendants’ real estate leases that acknowledges and provides
         for RMH’s right to sublet or assign the premises specifically to Applebee’s or its affiliates. (See
         Form of Applebee’s Restaurant Franchisee Lease Rider, attached as Exhibit 3 hereto.) In the
         rider, the Defendants and the landlords for the RMH Restaurants specifically agreed that
         Applebee’s is an intended third-party beneficiary of the rider and has the right to enforce the
         terms of the rider as if it was a party to it. (See Exhibit 3, Form of Applebee’s Restaurant
         Franchisee Lease Rider, ¶ 10.)

                 ANSWER:        The Debtors admit that the Form of Applebee’s Restaurant Franchisee

         Lease Rider is attached as Exhibit 3 to the Complaint. The remaining allegations in Paragraph

         15 constitute legal conclusions to which no response is required. To the extent a response is

         required, the remaining allegations in Paragraph 15 are denied. By way of further answer, the

         Debtors state that the various Franchise Agreements and/or Form of Applebee’s Restaurant

         Franchisee Lease Rider are the best evidence of their respective contents.


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                16.     The Franchise Agreements afford Applebee’s with near-absolute discretion in its
         operation of the franchise system and foreclose any claim by or liability to the Defendants based
         on Applebee’s exercise of that discretion:

                 •   Franchise Agreement and the parties’ relationship “grants [Applebee’s] the discretion
                     to make decisions, take actions and/or refrain from taking actions not inconsistent
                     with Franchisee’s explicit rights and obligations hereunder that may affect favorably
                     or adversely Franchisee’s interests”;

                 •   “[Applebee’s] will use its business judgment in exercising such discretion based on
                     [Applebee’s] assessment of its interests and the System, balancing those interests with
                     or against the interests of the operators of Restaurants generally (including
                     Franchisor, its affiliates and other franchisees) and specifically without considering
                     the individual interests of any particular franchisee”;

                 •    “[Applebee’s] will have no liability to Franchisee for the exercise of its discretion in
                     this manner”;

                 •   “even if [Applebee’s] has numerous motives for a particular action or decision, so
                     long as at least one motive is a reasonable business justification for such action or
                     decision, no trier of fact in any legal action shall substitute its judgment for
                     [Applebee’s] judgment so exercised, and such action or decision will not be subject to
                     challenge for abuse of discretion.”

         (See Exhibit 2, Form Franchise Agreement, Section 25.7 (emphasis added).)

                 ANSWER:        The Debtors admit that the Form Franchise Agreement contains the

         language quoted in Paragraph 16. The remaining allegations in Paragraph 16 constitute legal

         conclusions to which no response is required. To the extent a response is required, the remaining

         allegations in Paragraph 16 are denied. By way of further answer, the Debtors state that the

         various Franchise Agreements are the best evidence of their respective contents.

                 17.     The Franchise Agreements “and the documents referred to [therein] constitute the
         entire agreement between the parties, superseding and canceling any and all prior and
         contemporaneous agreements, understandings, representations, inducements and statements, oral
         or written, of the parties in connection with the subject matter [thereof].” (See Exhibit 2, Form
         Franchise Agreement, Section 25.5.)

                 ANSWER:        The Debtors deny the allegations set forth in paragraph 17. By way of

         further answer, the Debtors state that the Franchise Agreements are the best evidence of their

         respective contents.
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                18.     The Franchise Agreement shall not be amended or modified in the future unless
         such amendment or modification is “executed in writing both by Franchisor and by Franchisee
         and Principal Shareholders.” (See Exhibit 2, Form Franchise Agreement, Section 25.6.)

                 ANSWER:        The Debtors admit that the Form Franchise Agreement contains the

         language quoted in Paragraph 18. The remaining allegations in Paragraph 18 constitute legal

         conclusions to which no response is required. To the extent a response is required, the remaining

         allegations in Paragraph 18 are denied. By way of further answer, the Debtors state that the

         various Franchise Agreements are the best evidence of their respective contents.

                19.    The Franchise Agreements are governed by Kansas law. (See Exhibit 2, Form
         Franchise Agreement, Section 21.2.)

                 ANSWER:        The allegations in Paragraph 19 constitute legal conclusions to which no

         response is required. By way of further answer, the Debtors state that the various Franchise

         Agreements are the best evidence of their respective contents.

                 The Defendants’ Breach of the Franchise Agreements

                20.    Beginning in June 2017, the Defendants stopped paying royalties due under the
         Franchise Agreements. (See Exhibit 2, Form Franchise Agreement, Section 9.1(b) (requiring
         payment of royalties).)

                 ANSWER:        The allegations in Paragraph 20 constitute legal conclusions to which no

         response is required. To the extent a response is required, the allegations in Paragraph 20 are

         denied. By way of further answer, the Debtors state that the various Franchise Agreements are

         the best evidence of their respective contents.

                 21.    In January 2018, the Defendants stopped paying advertising and other fees due
         under the Franchise Agreements on a majority of the franchises and, eventually, stopped paying
         on all of them. (See Exhibit 2, Form Franchise Agreement, Section 9.1(a) and (c) (requiring
         payment of advertising and other fees).)

                 ANSWER:        The allegations in Paragraph 21 constitute legal conclusions to which no

         response is required. To the extent a response is required, the allegations in Paragraph 21 are



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         denied. By way of further answer, the Debtors state that the various Franchise Agreements are

         the best evidence of their respective contents.

               22.     Despite their non-payment of royalties and advertising and other fees, the
         Defendants continued to operate the franchises using the Applebee’s Marks.

                 ANSWER:        The Debtors admit that they are operating certain franchises using the

         Franchisor’s Marks. The remaining allegations in Paragraph 22 are denied.

                 Applebee’s Notice of Default to the Defendants and Extensions of the Cure
                 Period

                 23.     On or about September 20, 2017, Applebee’s provided notice to the Defendants of
         their material breaches of the Franchise Agreements stemming from their nonpayment of
         royalties (the “Notice of Default,” attached hereto as Exhibit 4). The Notice of Default
         informed the Defendants that they were required to cure each default of the Franchise
         Agreements by paying “the Overdue Amount within 90 days of receipt of this letter.” The
         Notice of Default also specifically stated that “[f]or the restaurants for which RMH does not cure
         the default, the franchise agreements for the restaurants will terminate on the 91st day without
         further notice, and RMH will be expected to fully comply with its post-termination obligations
         under the relevant franchise agreement(s).” (See Exhibit 4, Notice of Default (emphasis added).)

                 ANSWER:        The Debtors admit that the document attached to the Complaint as Exhibit

         4 was sent to the address listed therein on or about September 20, 2017. The remaining

         allegations in Paragraph 23 constitute legal conclusions to which no response is required. To the

         extent that a response is required, the remaining allegations in Paragraph 23 are denied. By way

         of further answer, the Debtors state that the Notice of Default is the best evidence of its contents.

               24.    The Defendants did not cure any of the defaults with regard to the Franchise
         Agreements within the initial 90-day period specified in the Notice of Default.

                 ANSWER:        The allegations in Paragraph 24 constitute legal conclusions to which no

         response is required. To the extent that a response is required, the allegations in Paragraph 24

         are denied.

                25.     On December 18, 2017, shortly before the initial cure period expired under the
         Notice of Default, Applebee’s extended it for another 30 days in the hope an amicable resolution
         could be achieved. Specifically, Applebee’s notified the Defendants in the December 2017 letter
         that “without waiver of our rights and remedies, we are amenable to extend your cure period
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         from the restaurants listed on the attached schedule by an additional 30 days to January 22,
         2018.” (See December 18, 2017 Extension Letter (emphasis in original), attached hereto as
         Exhibit 5.)

                 ANSWER:        The Debtors admit that the document attached to the Complaint as Exhibit

         5 was sent to the address listed therein on or about December 18, 2017. The remaining

         allegations in Paragraph 25 constitute legal conclusions to which no response is required. To the

         extent that a response is required, the remaining allegations in Paragraph 25 are denied. By way

         of further answer, the Debtors state that the December 18, 2017 Extension Letter is the best

         evidence of its contents.

                 26.    Rather than cure the defaults, the Defendants, as noted above, compounded the
         defaults in January 2018 when the Defendants stopped paying advertising and other fees due
         under the Franchise Agreements.

                 ANSWER:        The allegations in Paragraph 26 constitute legal conclusions to which no

         response is required. To the extent that a response is required, the allegations in Paragraph 26

         are denied.

                 27.     The time to cure the Defendants’ defaults were extended again by Applebee’s on
         January 19, 2018, February 8, 2018, February 26, 2018, March 12, 2018 and April 9, 2018
         (“Additional Extension Letters,” attached hereto as Exhibits 6-10). Each of the Additional
         Extension Letters extended the time to cure the defaults using the same language as the
         December 2017 letter. Each of the extension letters tied back to the September 2017 original
         Notice of Default so that at the end of the extended cure period - which had never been
         interrupted or previously lapsed - the Franchise Agreements would expire automatically and
         without further notice at the end of the extended cure period.

                 ANSWER:        The Debtors admit that the documents attached to the Complaint as

         Exhibits 6-10 were sent to the addresses listed therein on or about the dates listed in Paragraph

         27. The remaining allegations in Paragraph 27 constitute legal conclusions to which no response

         is required. To the extent a response is required, the remaining allegations in Paragraph 27 are

         denied. By way of further answer, the Debtors state that the Additional Extension Letters are the

         best evidence of their respective contents.

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                  28.    On April 16, 2018, after Applebee’s attempted numerous times to resolve the
         situation, Applebee’s reminded the Defendants by letter of their failure to respond to Applebee’s
         latest counter-proposal in March 2018 and stressed the urgency of the matter and the possibility
         of litigation. (See April 16, 2018 Letter, attached hereto as Exhibit 11.) Specifically,
         Applebee’s letter provided that Defendants’ “past assurances that RMH and ACON intend to
         move forward expeditiously appear questionable at this point. We have no choice but to
         interpret any further delay as an indication that RMH and ACON do not consider this matter to
         be a priority. At this point, we are considering all of our legal options in the resolution of this
         matter, including, without limitation, litigation.”

                   ANSWER:      The Debtors deny the allegations contained in Paragraph 28. By way of

         further answer, the Debtors state that the April 16, 2018 Letter is the best evidence of its

         respective contents.

                29.     Also on April 16, 2018, Applebee’s sent the Defendants a separate notice that
         provided for the last extension of the cure period, setting April 26, 2018, as the deadline for cure
         (“Last Extension Letter,” attached hereto as Exhibit 12.)

                   ANSWER:      The Debtors admit that the document attached to the Complaint as Exhibit

         12 was sent to the address listed therein on or about April 16, 2018 (the “April 16 Letter”). The

         remaining allegations in Paragraph 29 are denied. By way of further answer, the Debtors state

         that the April 16 Letter is the best evidence of its contents.

                   Pre-Petition Termination of the Franchise Agreements

                30.     The Defendants did not cure any of the defaults by April 26, 2018. Accordingly,
         the Franchise Agreements terminated the next day, April 27, 2018, pursuant to their own terms
         and the previously issued Notice of Default, which satisfies the written notice requirement in
         Section 19.1(a) of the Franchise Agreements.

                   ANSWER:      The allegations in Paragraph 30 constitute legal conclusions to which no

         response is required. To the extent a response is required, the allegations in Paragraph 30 are

         denied.




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                                                           16
                31.     Through April 2018, the Defendants owe Applebee’s at least $12,161,823 in
         unpaid royalties and fees with regard to all franchises and there are payment defaults as to each
         Franchise Agreement.

                   ANSWER:      The allegations in Paragraph 31 constitute legal conclusions to which no

         response is required. To the extent a response is required, the allegations in Paragraph 31 are

         denied.

                 32.     The Defendants filed its List of 30 Largest Unsecured Claims [Dkt. No. 28] in the
         Cases. Defendants list Applebee’s as having an unsecured claim of $14,276,476.40. Further,
         Defendants have not made or offered to escrow any payments to Applebee’s related to the post-
         petition benefits they are receiving from continued use of the market and benefit and profits
         therefrom.

                   ANSWER:      The Debtors admit that they filed the List of 30 Largest Unsecured Claims

         [Docket No. 28] in the Cases. The remaining allegations in Paragraph 32 are denied.

                 33.    Although the Defendants repeatedly ignored their fundamental obligation under
         the Franchise Agreements to pay basic royalties and advertising and other fees to Applebee’s, on
         April 25, 2018, Applebee’s notified the Defendants that Applebee’s agreed to forbear from
         taking any further enforcement actions against the Defendants until May 8, 2018 (“Forbearance
         Notice,” attached hereto as Exhibit 13.) This Forbearance Notice specifically provided that
         “Applebee’s agrees that it will forbear from taking any further actions against you or the
         Franchise Restaurants, whether at law or in equity, to enforce our rights and remedies against
         you or the Franchise Restaurants, under or in connection with the franchise agreements, until
         May 8, 2018.”

                   ANSWER:      The Debtors admit that the document attached to the Complaint as Exhibit

         13 was sent to the address listed therein on or about April 25, 2018. The remaining allegations in

         Paragraph 33 constitute legal conclusions to which no response is required. To the extent that a

         response is required, the remaining allegations in Paragraph 33 are denied. By way of further

         answer, the Debtors state that the Forbearance Notice is the best evidence of its contents.

                 34.     The Forbearance Notice was necessary to allow Applebee’s to prepare to
         potentially take over RMH Restaurants. However, the Forbearance Notice also specifically
         notified the Defendants that “[t]his agreement to forbear is not an extension of the cure
         periods referred to in prior Notices, which have already expired.”



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                                                         17
                 ANSWER:         The Debtors deny the allegations set forth in Paragraph 34. By way of

         further answer, the Debtors state that the Forbearance Notice is the best evidence of its contents.

                 35.    The forbearance regarding taking action against the Defendants, which was
         effective on April 27, 2018 (the day the Franchise Agreements terminated), expired on May 7,
         2018, pursuant to the terms of the Forbearance Notice. As a result, as of 12:01 a.m. on May 8,
         2018, the Defendants were required to comply with certain post-termination obligations under
         the Franchise Agreements, including ceasing operation of the RMH Restaurants, ceasing the use
         of Applebee’s Marks, and either de-identifying the RMH Restaurants or complying with
         Applebee’s right, if exercised under the Franchise Agreements, to assign any real-estate leases
         for and surrender the premises of any leased RMH Restaurants.

                 ANSWER:         The Debtors deny the allegations set forth in Paragraph 35. By way of

         further answer, the Debtors state that the Franchise Agreements are the best evidence of their

         respective contents.

                 The Defendants’ Failure to Comply with their Post-Termination Obligations
                 and Applebee’s Damages

                36.     The Defendants have failed to comply with their post-termination obligations
         under each of the Franchise Agreements and, without limitation, have not ceased operation of the
         franchises, ceased use of Applebee’s Marks, or de-identified the operating restaurants.

                 ANSWER:         The allegations in Paragraph 36 constitute legal conclusions to which no

         response is required. To the extent that a response is required, allegations in Paragraph 36 are

         denied. By way of further answer, the Debtors state that the Franchise Agreements are the best

         evidence of their respective contents. Further, the Debtors deny that the Franchise Agreements

         have been terminated.

                 37.     In addition to the non-payment of royalties and advertising and other fees,
         between about June 2017 and April 2018, the Defendants unilaterally closed 15 RMH
         Restaurants across several states (the “Closed franchises”) without Applebee’s consent, and prior
         to the end of the term of the relevant Franchise Agreements. The Defendants stopped paying, or
         had already stopped paying, royalties and/or advertising and other fees due under the Franchise
         Agreements for the Closed franchises.

                 ANSWER:         Denied.




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                                                         18
                 38.     At no point did Applebee’s waive or otherwise consent to the Defendants’
         unilateral closure of any of the Closed franchises, or the non-payment of royalties and
         advertising and other fees under the Franchise Agreements.

                   ANSWER:        Denied.

                39.     As a result of the Defendants’ improper closure of the Closed franchises, the
         Defendants breached the Franchise Agreements for the Closed franchises and have deprived
         Applebee’s of the royalties and other fees it would have received for the balance of the term of
         the Franchise Agreements.

                   ANSWER:        Denied.

                 40.     As a result of the Defendants’ improper closure of the Closed franchises,
         Applebee’s has been damaged and suffered lost royalties and advertising fees, and is continuing
         to suffer, and will suffer, lost future royalties and advertising fees of approximately $10,209,000.
         The Defendants are liable for these damages and Applebee’s reserves all rights to file a proof of
         claim for these amounts and other rights.

                   ANSWER:        The Debtors deny that the Closed Franchises were improperly closed. The

         Debtors are without knowledge or information sufficient to form a belief as to the truth or falsity

         of the allegations in Paragraph 40 concerning the alleged damages “suffered” by the Franchisor,

         and on that basis deny them. The remaining allegations in Paragraph 40 constitute legal

         conclusions to which no response is required. To the extent a response is required, the remaining

         allegations in Paragraph 40 are denied.

                41.    The total damages suffered by Applebee’s, as a result of the Defendants’
         improper closure of the Closed franchises and unpaid royalties, advertising and other fees, are as
         follows:

                                  Damage                                               Amount
         Unpaid Royalties and Fees (All RMH Restaurants)                              $12,161,823
         Lost Future Royalties and Fees (Closed franchises)                           $10,209,000

         TOTAL                                                                        $23,370,823

                   Applebee’s reserves all rights to assert a proof of claim for these damages and other

         rights.

                   ANSWER:        Denied.

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                                                           19
                             Applebee’s Exercise of its Post-Termination Rights

                42.    On May 7, 2018, Applebee’s, as a courtesy to Defendants, made a telephone call
         to Defendants and advised them of Applebee’s intention to take back the RMH Restaurants in
         Texas and Arizona.

                   ANSWER:      The Debtors admit that representatives of Dine Brands and the Debtors

         participated in a conference call on May 7, 2018. The remaining allegations in Paragraph 42 are

         denied.

                43.    On May 8, 2018, after receiving the telephone call from Applebee’s on May 7,
         2018, the Defendants commenced the Cases under chapter 11 of the United States Bankruptcy
         Code (the “Petition Date”).

                   ANSWER:      The Debtors admit that they filed their Cases on May 8, 2018. The

         remaining allegations in Paragraph 43 are denied.

                 44.     Also on May 8, 2018, Applebee’s delivered a letter to the Defendants to
         reconfirm and make clear that the time to cure the defaults with respect to the Franchise
         Agreements expired on April 26, 2018 and the Franchise Agreements were automatically
         terminated on April 27, 2018 pursuant to the Notice of Default previously sent to the Defendants
         on September 20, 2017. (See Termination Confirmation Letter, attached hereto as Exhibit 14.)
         The letter further provided that, with respect to the RMH Restaurants in Arizona and Texas,
         Applebee’s exercised all of its post-termination rights under Section 19.4(f) of the Franchise
         Agreements, including requiring the underlying leases be assigned to Applebee’s so that
         Applebee’s can take control of those restaurants.

                   ANSWER:      The Debtors admit that the document attached to the Complaint as Exhibit

         14 was sent to the address listed therein on or about May 8, 2018, but after the Debtors filed for

         bankruptcy protection. The remaining allegations in Paragraph 44 constitute legal conclusions to

         which no response is required. To the extent that a response is required, the remaining

         allegations in Paragraph 44 are denied.

                 45.    Applebee’s delivered a separate letter to the Defendants on May 8, 2018, wherein
         Applebee’s agreed to forbear from enforcing its termination rights with the RMH Restaurants,
         other than the Arizona and Texas RMH Restaurants, until May 20, 2018 (“May Forbearance
         Notice,” attached hereto as Exhibit 15). This letter, like the previously issued Forbearance
         Notice, provided that “[t]his agreement to forbear is not an extension or a restarting of the prior
         cure period referred to in prior Notices, which has already expired, nor is it a new cure period.”
         Like the Forbearance Notice, this forbearance was issued, for logistical reasons, to allow
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                                                         20
         Applebee’s to prepare to take over the remaining RMH Restaurants over time. That forbearance
         period has now expired and has not been further extended.

                 ANSWER:        The Debtors admit that the document attached to the Complaint as Exhibit

         15 was sent to the address listed thereon in or about May 8, 2018, but after the Debtors filed for

         bankruptcy protection. The remaining allegations in Paragraph 45 constitute legal conclusions to

         which no response is required. To the extent that a response is required, the remaining

         allegations in Paragraph 45 are denied.

                46.     On May 16, 2018, Applebee’s filed its Motion to Modify the Automatic Stay
         [Dkt. No. 91] (the “Stay Relief Motion”). The Stay Relief Motion remains pending and is
         incorporated by reference herein.

                 ANSWER:        The Debtors admit that the Franchisor filed the Stay Relief Motion on

         May 16, 2018. The remaining allegations in Paragraph 46 are denied.

               47.     On May 23, 2018, the Court held a telephonic hearing to address scheduling of
         Applebee’s Stay Relief Motion. At the hearing, the Court orally ordered Applebee’s to
         commence an adversary proceeding to seek the relief requested in the Stay Relief Motion.
         However, the Court did not require Applebee’s to withdraw its Stay Relief Motion and
         Applebee’s reserves all rights as to its pending Stay Relief Motion.

                 ANSWER:        The Debtors admit that, on May 23, 2018, the Court held a telephonic

         hearing to address scheduling of the Stay Relief Motion and that the Court orally ordered the

         Franchisor to commence an adversary proceeding to seek the relief requested in the Stay Relief

         Motion. The Debtors further admit that at that time, the Court did not require the Franchisor to

         withdraw the Stay Relief Motion. The remaining allegations in Paragraph 47 constitute legal

         conclusions to which no response is required. To the extent that a response is required, the

         remaining allegations in Paragraph 47 are denied.




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                                                         21
                COUNT I - DECLARATORY JUDGMENT THAT THE FRANCHISE
             AGREEMENTS ARE NOT PROPERTY OF THE ESTATES BASED ON THEIR
                            TERMINATION AS OF APRIL 27, 2018

                48.     Applebee’s repeats and restates the allegations set forth in the foregoing
         paragraphs of this Complaint as if set forth fully herein.

                 ANSWER:        The Debtors repeat and reallege their responses to each and every

         allegation contained in Paragraphs 1 through 47 as if fully set forth herein.

               49.     Pursuant to the Notice of Default and the Last Extension Letter sent to the
         Defendants, the deadline for the Defendants to cure their monetary defaults under the Franchise
         Agreements expired on April 26, 2018. No extended or new cure period was granted.

                 ANSWER:        Denied.

                 50.     Applebee’s provision of a short-term forbearance to allow for an orderly
         transition of the RMH Restaurants to corporate operations to make sure customers have access to
         the Applebee’s dining experience uninterrupted at their local location is not a further cure period.

                 ANSWER:        Denied.

                 51.    Defendants did not cure their monetary defaults by April 26, 2018.

                 ANSWER:        Denied.

                 52.     As a result, all of the Franchise Agreements for the Defendants’ restaurants
         terminated the day after the cure period expired, on April 27, 2018, by their own terms and
         pursuant to the Notice of Default, which satisfies the written notice requirement in Section
         19.1(a) of the Franchise Agreements.

                 ANSWER:        Denied.

                53.    Thus, Defendants’ rights to operate as a franchisee at each and every RMH
         Restaurant expired with the termination of the Franchise Agreements on April 27, 2018.

                 ANSWER:        Denied.

                54.      Accordingly, on the Petition Date, the Defendants’ did not have a legal or
         equitable interest in the Franchise Agreements, and, thus, the Franchise Agreements are not
         property of the estates pursuant to 11 U.S.C. § 541.

                 ANSWER:        Denied.

                55.     Any complaints of the Defendants regarding the Applebee’s system or other
         disputes are no excuse to the Defendants’ willful non-payment and other defaults under the

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                                                          22
         Franchise Agreements and applicable law nor are they are valid defense to the termination or a
         grounds for ongoing infringement of Applebee’s Marks.

                   ANSWER:      Denied.

                56.     Any complaints of the Defendants about any ongoing discussions or
         communications before or after the termination was effective are not a valid defense to the
         termination or a grounds for ongoing infringement of Applebee’s Marks.

                   ANSWER:      Denied.

                   THEREFORE, this Court should find and declare that the Franchise Agreements were

         terminated as of April 27, 2018 and, thus, are not property of the Defendants’ bankruptcy estates.

                   ANSWER:      The allegations in the THEREFORE portion of Count I are legal

         conclusions to which no response is required.

                  COUNT II - DECLARATORY JUDGMENT AS TO APPLEBEE’S TIMELY
                 EXERCISED RIGHT TO TAKE CONTROL OF THE TEXAS AND ARIZONA
                                      RMH RESTAURANTS

                57.     Applebee’s repeats and restates the allegations set forth in the foregoing
         paragraphs of this Complaint as if set forth fully herein.

                   ANSWER:      The Debtors repeat and reallege their responses to each and every

         allegation contained in Paragraphs 1 through 57 as if fully set forth herein.

               58.     Section 19.4(f) of the Franchise Agreements provide Applebee’s with the right,
         upon written notice to the Defendants within 30 days of the termination of the Franchise
         Agreements, to require the Defendants to assign the leases of the RMH Restaurants to
         Applebee’s and immediately surrender possession of the RMH Restaurants to Applebee’s.

                   ANSWER:      Denied.

               59.     On May 7, 2018, Applebee’s advised the Defendants by telephone call of
         Applebee’s election to take back RMH Restaurants in Texas and Arizona.

                   ANSWER:      Denied as an incomplete statement of the discussions during the alleged

         call.




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                                                          23
                 60.    Also, on May 8, 2018, Applebee’s also provided Defendants written confirmation
         notice in the Termination Confirmation Letter of its intention to take control of the RMH
         Restaurants in Texas and Arizona.

                    ANSWER:            Denied.

                 61.    Further, by filing this Complaint, Applebee’s hereby advises Defendants of
         Applebee’s election to take back the specified RMH Restaurants located in Arizona and Texas,
         as attached in Exhibit 16 hereto, including having Defendants assign the leases for the RMH
         Restaurants to Applebee’s and surrender the premises and restaurant contents for those RMH
         Restaurants.

                    ANSWER:            Denied.

                62.     Applebee’s is prepared to pay for the fair value of the equipment, food stuffs and
         other personal property at the RMH Restaurants pursuant to the procedures set forth in the
         Franchise Agreements.

                    ANSWER:            Denied.

                    THEREFORE, the Court should find and declare that Applebee’s properly and timely

         exercised its right to take control of the Arizona and Texas RMH Restaurants pursuant to Section

         19.4(f) of the Franchise Agreements.5

                    ANSWER:            The allegations in the THEREFORE portion of Count II are legal

         conclusions to which no response is required.

                  COUNT III - DECLARATORY JUDGMENT AS TO APPLEBEE’S TIMELY
                   EXERCISED RIGHT TO TAKE CONTROL OF THE REMAINING RMH
                                        RESTAURANTS

                63.     Applebee’s repeats and restates the allegations set forth in the foregoing
         paragraphs of this Complaint as if set forth fully herein.

                    ANSWER:            The Debtors repeat and reallege their responses to each and every

         allegation contained in Paragraphs 1 through 63 as if fully set forth herein.



         5
             Applebee’s seeks stay relief in its pending Stay Relief Motion to enforce this exercised right against the
             Defendants in another forum.

         ANSWER: In response to this footnote, the Debtors state that they lack sufficient information to admit or deny the
         allegations and therefore deny them.
01:23292973.14
                                                                     24
               64.     Section 19.4(f) of the Franchise Agreements provide Applebee’s with the right,
         upon written notice to the Defendants within 30 days of the termination of the Franchise
         Agreements, to require the Defendants to assign the leases of the RMH Restaurants to
         Applebee’s and immediately surrender possession of the RMH Restaurants to Applebee’s.

                    ANSWER:            Denied.

                 65.     By filing this Complaint, Applebee’s hereby advises Defendants Applebee’s
         election to take back the RMH Restaurants listed on Exhibit 17 hereto (the “Remaining RMH
         Restaurants”), including having Defendants assign the leases for the Remaining RMH
         Restaurants to Applebee’s and surrender the premises for the Remaining RMH Restaurants.

                    ANSWER:            Denied.

                66.     Applebee’s is prepared to pay for the fair value of the equipment, food stuffs and
         other personal property at the RMH Restaurants pursuant to the procedures set forth in the
         Franchise Agreements.

                    ANSWER:            Denied.

                67.    Applebee’s has elected to not exercise its post-termination right to take control
         over the Defendants’ Closed franchises.

                    ANSWER:            Denied.

                 68.     Applebee’s has also elected to not exercise its post-termination right to take
         control over the currently operating RMH Restaurants set forth on Exhibit 18 hereto and,
         therefore, those restaurants need to immediately de-affiliate from using the Applebee’s Marks.

                    ANSWER:            Denied.

                    THEREFORE, the Court should find and declare that Applebee’s properly and timely

         exercised its right to take control of the Remaining RMH Restaurants pursuant to Section 19.4

         and other application provisions of the Franchise Agreements.6

                    ANSWER:            The allegations in the THEREFORE portion of Count III are legal

         conclusions to which no response is required.



         6
             Applebee’s seeks stay relief in its pending Stay Relief Motion to enforce this exercised right against the
             Defendants in another forum.

         ANSWER: In response to this footnote, the Debtors state that they lack sufficient information to admit or deny the
         allegations and therefore deny them.
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                                                                     25
                   COUNT IV - DECLARATORY JUDGMENT AS TO APPLEBEE’S POST-
                                     TERMINATION RIGHTS

                69.     Applebee’s repeats and restates the allegations set forth in the foregoing
         paragraphs of this Complaint as if set forth fully herein.

                    ANSWER:            The Debtors repeat and reallege their responses to each and every

         allegation contained in Paragraphs 1 through 69 as if fully set forth herein.

                 70.      Section 19 of the Franchise Agreements provide Applebee’s with certain rights
         following termination of the Franchise Agreements, including requiring the Defendants to
         de-affiliate the RMH Restaurants, requiring assignment of the leases of the RMH Restaurants to
         Applebee’s and compelling the Defendants to sell their inventory, equipment and fixtures to
         Applebee’s.

                    ANSWER:            Denied.

                 71.    Given that the Franchise Agreements terminated on April 27, 2018, Applebee’s
         currently has a right to enforce its post-termination rights under the Franchise Agreements.

                    ANSWER:            Denied.

                 72.     To the extent that Bank of America as Administrative Agent may have a lien on
         the leases of the RMH Restaurants or the Defendants’ inventory, equipment or fixtures, those
         rights will pass-through the Cases and any dispute between the Administrative Agent and
         Applebee’s regarding their respective rights in the leases, inventory, equipment and fixtures may
         be resolved in another forum or settled.

                    ANSWER:            Denied.

                    THEREFORE, the Court should find and declare that Applebee’s currently has a right to

         enforce its post-termination rights pursuant Section 19 of the Franchise Agreements, including

         requiring the Defendants to de-affiliate the RMH Restaurants, requiring assignment of the leases

         of the RMH Restaurants to Applebee’s and compelling the Defendants to sell their inventory,

         equipment and fixtures to Applebee’s.7



         7
             Applebee’s seeks stay relief in its pending Stay Relief Motion to enforce these post-termination rights against the
             Defendants in another forum.

         ANSWER: In response to this footnote, the Debtors state that they lack sufficient information to admit or deny the
         allegations and therefore deny them.
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                                                                     26
                 ANSWER:        The allegations in the THEREFORE portion of Count IV are legal

         conclusions to which no response is required.

                                              PRAYER FOR RELIEF

                 The Debtors deny that the Franchisor is entitled to any of the relief set forth in the

         “Prayer for Relief” section of the Complaint and deny all allegations contained therein.

                                           AFFIRMATIVE DEFENSES

                 In addition to the foregoing responses to the numbered paragraphs of the Complaint, the

         Debtors state the following additional or affirmative defenses. In asserting the following

         additional or affirmative defenses, the Debtors do not admit that they bear the burden of

         persuasion with respect to any matter or defense set forth below, nor do they concede that such

         matter (or the negation of the same) is not part of the Franchisor’s prima facie case for some or

         all of the claims asserted by the Franchisor in the Complaint.

                                              First Affirmative Defense

                 The Complaint fails to state a claim upon which relief can be granted.

                                            Second Affirmative Defense

                 The relief sought in the Complaint should be denied under the doctrines of estoppel and

         unclean hands.

                                             Third Affirmative Defense

                 The Franchisor’s claims are barred, in whole or in part, due to the Franchisor’s own

         material breach and failure to substantially perform under the Franchise Agreements.

                                            Fourth Affirmative Defense

                 The Franchisor’s claims are barred, in whole or in part, due to the Franchisor’s failure to

         act consistent with the covenant of good faith and fair dealing implicit in the Franchise

         Agreements.
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                                                          27
                                             Fifth Affirmative Defense

                 The relief sought in the Complaint should be denied to the extent permitted under

         principles of waiver and/or release.

                                            Sixth Affirmative Defense

                 The Franchisor’s damages, if any, were caused by their own acts, negligence and/or

         omissions.

                                           Seventh Affirmative Defense

                 The Franchisor’s claims are barred in whole or in part by the parties’ course of dealing.

                                            Eighth Affirmative Defense

                 The relief sought in the Complaint should be denied because the purported notice of

         termination of the Franchise Agreements was ineffective to the extent that such notice was not

         delivered to the address set forth in Franchise Agreements for giving notice thereunder.

                                        RESERVATION OF DEFENSES

                 The Debtors expressly reserve, and do not waive, any additional defenses that may be

         disclosed or become apparent during discovery and further investigation of the relevant facts in

         this matter.

                                                 COUNTERCLAIMS

                 The Debtors and Counter-Plaintiffs, for their Counterclaims against Counter-Defendants

         Franchisor, hereby allege as follows:

                 1.     The Debtors incorporate by reference all above responses as if fully set forth

         herein, and assert the following counterclaims against the Franchisor and Dine Brands.

                                                     PARTIES

                 2.     Counter-Plaintiffs RMH Franchise Holdings, Inc., NuLnk, Inc. and RMH Illinois,

         LLC are Delaware corporations.
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                 3.     Counter-Plaintiff RMH Franchise Corp. is a Kansas corporation.

                 4.     Counter-Plaintiff Contex Restaurants, Inc. is a Texas corporation.

                 5.     Counter-Plaintiffs (i) RMH Franchise Corporation, (ii) NuLnk, Inc. and (iii) RMH

         Illinois, LLC are each 100% owned by Counter-Plaintiff RMH Franchise Holdings, Inc., which

         is itself 100% owned by ACON Franchise Holdings, LLC (“AFH”). The final Counter-Plaintiff,

         Contex Restaurants, Inc., is 100% owned by Counter-Plaintiff RMH Franchise Corporation.

                 6.     The headquarters of all Counter-Plaintiffs is located at One Concourse Parkway,

         N.E., Suite 600, Atlanta, GA 30328.

                 7.     On information and belief, Counter-Defendant Dine Brands Global Inc. (“Dine

         Brands”) is a Delaware corporation with its principal place of business in Glendale, California.

                 8.     On information and belief, Counter-Defendant Applebee’s Restaurants LLC

         (“Applebee’s Restaurants”) is a Delaware limited liability company with its principal place of

         business in Glendale, California.

                 9.     On information and belief, Counter-Defendant Applebee’s Franchisor LLC

         (“Applebee’s Franchisor” and, together with Applebee’s Restaurants, the “Dine Subsidiaries”) is

         a Delaware limited liability company with its principal place of business in Glendale, California.

                 10.    On information and belief, the ultimate parent company of Applebee’s

         Restaurants and Applebee’s Franchisor is Dine Brands.

                                             Jurisdiction and Venue

                 11.    This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C.

         § 1334(b). Certain aspects of this adversary proceeding are core matters pursuant to 28 U.S.C.

         § 157(b)(2), and other aspects are non-core matters.

                 12.    Venue is proper in this District pursuant to 28 U.S.C. § 1409.


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                    13.   The Counterclaims are brought pursuant to Rule 13 of the Federal Rules of Civil

         Procedure and Rule 7013 of the Federal Rules of Bankruptcy Procedure.

                                                 Factual Allegations

                 A. The Debtors Become the Second-Largest Applebee’s Franchisee Operator in
                    Reliance on the Proven and Unique Applebee’s System.

                    14.   Jeff Neumann founded the Debtors in 2012 with an equity investment from non-

         Debtor AFH and debt financing led by Bank of America, N.A. with participation interests held

         by other major banks (collectively with Bank of America, the “Senior Lenders”).

                    15.   The Debtors are in the business of operating Applebee’s Neighborhood Grill &

         Bar restaurants pursuant to individual franchise agreements (the “Franchise Agreements”).

                    16.   As of May 8, 2018 (the “Petition Date”), the Debtors formed what is believed to

         be the second-largest franchisee operator of Applebee’s restaurants, operating 159 restaurants

         across 15 geographically diverse states: Alabama, Arizona, Florida, Illinois, Indiana, Kansas,

         Kentucky, Missouri, Mississippi, Nebraska, Ohio, Oklahoma, Pennsylvania, Texas and

         Wyoming. All told, the Debtors represented slightly less than 9 percent of all Applebee’s

         locations.

                    17.   The Debtors’ business operations were built primarily through a series of

         acquisitions of existing franchises, including some franchise locations acquired out of

         bankruptcy, beginning with an acquisition of 45 franchise locations in December 2012.

         Thereafter, the Debtors made several other large franchise acquisitions over the course of 2013–

         2015, including the addition of 15 Chicago-area locations in June 2013; 78 Arizona, Kentucky,

         and Ohio area locations in December 2013; and 33 Indiana and Ohio locations in August 2015.

         Additionally, the Debtors opened eight new franchise locations.



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                 18.    The Debtors’ acquisitions in 2013 and 2015 demonstrated their commitment to

         the Applebee’s brand and belief in the System as a foundation for success. Indeed, the Debtors’

         2013 and 2015 acquisitions helped to consolidate and improve Dine Brands’ performance and

         were done with the express consent of the Franchisor and with express assurances from Steven

         R. Layt, Applebee’s President at the time, that certain individual stores could be closed if their

         performance did not improve. After the acquisitions closed, however, Ms. Stewart reneged on

         Applebee’s commitment and refused to support the closure of the Debtors’ underperforming

         restaurants.

                 19.    All told, the Debtors made capital expenditures, inclusive of acquisitions, of $196

         million between December 2012 and December 2015 in reliance on the System. Dine Brands

         approved of, and benefited from, all of the Debtors’ acquisitions because the Debtors

         implemented operational improvements that generated greater royalties for the Franchisor.

                 20.    As the Franchisor must recognize, the Debtors operate well-run franchises with a

         strong management team.. Indeed, that is exactly why the Franchisor supported and expressly

         consented to Debtors’ additional acquisitions in 2013 and 2015. The Franchisor understood that

         Debtors would implement—and, in fact, did implement—operational improvements that inured

         to the Franchisor’s benefit in the form of enhanced royalties.

                 21.    Most recently, according to the rolling four-week average for the week of the

         Petition Date, the Franchisor ranked the Debtors’ operations better than the system average.

         Upon information and belief, most of the restaurants currently operated by the Debtors were

         previously owned by substandard operators that the Franchisor wanted out of the system.




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                 B. The System Was the Core of the Bargain in the Franchise Agreements.

                    22.   The Applebee’s unique “System” is at the heart of the Franchise Agreements.

         The very first Recital of the Franchise Agreements defines “the System” as Applebee’s “designs,

         decor and color schemes for restaurant premises, signs, equipment, procedures and formulae for

         preparing food and beverage products, specifications for certain food and beverage products,

         inventory methods, operating methods, financial control concepts, training facilities and teaching

         techniques.” Franchise Agreement, Recital A. Nothing in the Franchise Agreements permits the

         Franchisor to abandon the System that was the core of the bargain between the Franchisor and

         the Debtors.

                    23.   The Franchise Agreements are emphatic that “strict adherence by all franchisees

         to all aspects of the System is required at all times.” Franchise Agreement §2.1; see also id.

         § 5.6 (“Franchisee understands, acknowledges and agrees that strict conformity with the System

         . . . is vitally important . . . .”); § 3 (“Franchisee acknowledges that every component of the

         System is important to Franchisor . . . . Accordingly, Franchisee agrees to and shall comply with

         all aspects of the System (as it now exists and as it may be modified from time to time).”); § 4.3

         (“Franchisee shall comply with all menu changes which generally occur every six (6) months.”);

         § 7.1 (“Franchisee shall, at Franchisee's sole cost and expense, maintain the Restaurant in

         conformity with the standards, specifications and requirements of the System, as the same may

         be designated by Franchisor from time to time.”).

                    24.   The Franchisor is permitted to make revisions or amendments to the System;

         provided, however, that such changes must be made in a good faith exercise of reasonable

         business judgment that is consistent with the “the overall best interests of the System generally,”

         and with “due regard for the financial burden which may be placed upon its franchisees”:


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                 Franchisor shall have the right, at any time and from time to time, in the good
                 faith exercise of its reasonable business judgment, consistent with the overall best
                 interests of the System generally, having due regard for the financial burden
                 which may be placed upon its franchisees, to revise, amend, delete from and add
                 to the System and the material contained in the Manuals. Franchisee expressly
                 agrees to comply with all such revisions, amendments, deletions and additions.

         Franchise Agreement § 5.7.

                 25.    At the time of their execution, the Franchise Agreements also provided, in

         relevant part, that the franchisees must contribute 3.25% of their gross sales to an “advertising

         account” established by the Franchisor for the benefit of all franchisees. Franchise Agreement

         § 8.2. Under amendments to the various Franchise Agreements, the Debtors are currently

         obligated to contribute 3.5% of their gross sales to advertising, with a further rate hike up to

         4.25% scheduled for July 2018. The Franchisor has “final and binding” decision-making

         authority in all phases of advertising and promotion. Franchise Agreement § 8.1.

                 26.    Beyond the advertising fee, the Franchise Agreement also requires franchisees to

         pay a monthly royalty fee as determined by the Franchisor, not to exceed 5% of the monthly

         gross sales. Franchise Agreement § 9.1. In practice, the Franchisor charges the Debtors a

         monthly royalty fee of 4% of gross sales. Under the Franchise Agreement, unpaid fees bear

         interest at the lesser of 18% or the highest rate permitted by applicable law. Franchise

         Agreement § 9.2. The Franchise Agreement provides that the Franchisor may withdraw funds

         from the franchisee’s designated bank account in the amount of any royalties or other fees

         payable to the Franchisor under the agreement. Franchise Agreement §§ 9.4, 9.5.

                 27.    Section 19.1 of the Franchise Agreements provides that the Franchisor may

         terminate the agreement for failure to pay royalty fees only upon providing the franchisee with

         written notice of termination: “Franchisor shall have the right to terminate this Agreement

         immediately upon written notice to Franchisee stating the reason for such termination . . . in the

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         event of any breach or default of any of the provisions of Section 9.1 . . . .” Franchise

         Agreement § 19.1.

                    28.   Section 19.3 of the Franchise Agreement provides that the prevailing party is

         entitled to reasonable attorneys’ fees in connection with any legal proceeding to construe or

         enforce the terms of the agreement. Franchise Agreement § 19.3.

                 C. The Franchisor Abandons Applebee’s Core Brand and Implements a Commercially
                    Unreasonable System Change Without Due Regard for the Best Interests of the
                    Franchisees and the Financial Burden It Imposed on Them.

                    29.   The financial difficulty that drove the Debtors into chapter 11 stems from the

         Franchisor’s mismanagement and decision to abandon the Applebee’s System that had motivated

         the Debtors to enter into the Franchise Agreements in the first place. The Franchisor’s ill-

         advised and value-destroying decision to abandon the System deprived the Debtors of the benefit

         of their bargain. Dine Brands’ board, meanwhile, appeared to merely sit back and watch as

         Applebee’s unraveled, effectively taking no action at all until the FBC finally demanded that the

         board get involved.

                    30.   Beginning in 2014, after Jeff Neumann, the Debtors’ founder and CEO (at the

         time), was elected to Applebee’s Franchise Brand Council in November 2014, it became clear

         that the Franchisor’s new management, under the leadership of then-Chief Executive Officer

         Julia Stewart, was ill equipped and quickly losing sight of Applebee’s core values. The

         Franchisor’s misguided leadership, for example, is amply illustrated by the decision in or around

         September 2015 to close Applebee’s Kansas City office—the location of the Applebee’s

         franchise since its founding in 1988—in an effort to move Applebee’s operations to Dine

         Brands’ headquarters in Glendale, California.




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                 31.    Numerous Applebee’s personnel, many of them longstanding employees, opposed

         the relocation and declined to transfer. Indeed, Applebee’s president, Steven R. Layt, refused the

         move and resigned in protest.

                 32.    The loss of longstanding personnel and key executives was compounded by the

         mismanagement under Ms. Stewart’s helm and her leadership style, which made it difficult for

         the Franchisor to attract talent. Among other things, Ms. Stewart refused to let other executives

         have C-level titles, allowing them to have only “Senior Vice President” positions.

                 33.    Thus, after the Kansas City office closure, Applebee’s operated with numerous

         key positions unfilled. Applebee’s did not even have a president, head of marketing, or a head of

         technology/IT for lengthy periods of time.

                 34.    The Debtors and other franchisees suffered as a result of these key positions being

         unfilled. Although franchisees were expected to continue making their royalty payments, the

         Franchisor was not providing its franchisees with reasonable marketing, training, or operational

         support, as required by the Franchise Agreements.

                 35.    Shortly thereafter, in the fall of 2015, the Franchisor’s mismanagement reached

         its crescendo with the announcement that the Franchisor would be abandoning the System and

         implementing a commercially unreasonable System Change that abandoned the Applebee’s

         brand’s core identity and imposed massive costs and capital expenditures on the franchisees.

                 36.    “We’re in the midst of a transformation at Applebee’s,” Julia Stewart, Dine

         Brands’ CEO, said in a statement. “No matter how you slice it, it is a big bold move,” Stewart

         said. This transformation set out to change the taste and flavor profile of fully 40% of the items

         on Applebee’s the existing menu. Executives said that it was the most significant change in the

         brand’s 36-year history.


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                 37.    As the Franchisor explained in its press release, it was consciously attempting to

         “transform[] the guest experience,” boasting to its customers that Applebee’s was “a different

         place than you remember.”

                 38.    The System Change included converting traditional gas grills that had become an

         industry standard to new wood-fired grill platforms in all restaurants. This conversion was a

         significant undertaking even beyond the grills themselves, causing franchisees, including the

         Debtors, to replace their existing fire prevention systems and to install hood and ventilation

         systems designed to ventilate wood smoke. The new “wood fired” grills themselves were not

         higher quality than the original gas grills. Indeed, the new grills still cooked with gas—it was

         just that they allowed wood to be burned alongside the gas cooking. Installation of the grills and

         related equipment cost the Debtors nearly $1.6 million.

                 39.    The change to “wood fired” grills also imposed a number of ancillary costs on the

         Debtors, such as the cost associated with purchasing the wood that would burn while customers’

         food was cooking. The conversion also caused franchisees, including the Debtors, to bring each

         of their locations into compliance with the particular local and municipal rules and regulations

         concerning the production and ventilation of wood smoke, which entailed significant costs for

         permits, variances, inspections, and legal fees. These compliance efforts alone cost the Debtors

         nearly $600,000.

                 40.    The Franchisor also insisted on using more expensive USDA Choice steaks. The

         Franchisor further caused these steaks to be hand-cut daily, which was labor-intensive and

         expensive, requiring extensive training for kitchen personnel and increasing the amount of more

         expensive cuts of steak, which restaurants were forced to discard as waste. Indeed, the Debtors

         spent nearly $250,000 on additional training and nearly $180,000 on wasted steak. Yet it was


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         well known in the industry that many actual steakhouses had long since stopped hand-cutting

         steaks because it was too expensive.

                 41.    Even though USDA Choice, hand-cut steaks were more expensive for the Debtors

         and other franchisees, the menu prices set by the Franchisor were no higher, and thus, the

         profitability of the Debtors and other franchisees declined precipitously. Because the

         Franchisor’s royalty fees are based on sales, it was indifferent to the pricing discrepancy.

                 42.    Indeed, when the Franchisor implemented the System Change, it was well aware

         that 100% of the risk and burden of the changes to the System would be borne by the franchisees

         in general and by the Debtors in particular. In fact, as of December 31, 2015, the Franchisor no

         longer owned or operated any company locations, thus ensuring that it did not share in any of the

         risk.

                 43.    The System Change thus had a disproportionately adverse impact on the Debtors

         and other franchisees. By way of illustration, the Debtors’ last-twelve-months EBITDA (the

         driver of profitability and enterprise value for franchisees) declined by 59.9% for the period from

         March 2016 to March 2018, whereas the royalty fees that the Debtors paid or accrued to the

         Franchisor declined by just 12.8% over the same period.

                 44.    The Franchisor was also indifferent to the fact that, even as it caused the Debtors

         to make significant capital expenditures and incur significant labor costs and other expenses, the

         Debtors’ debt levels were not mitigated by the Debtors’ decrease in sales in the same way that

         royalty fees were.

                 45.    The Franchisor’s System Change further caused franchisees, including the

         Debtors, to make increased advertising contributions at a time when individual franchisees were

         experiencing 9 straight quarters of steadily diminishing sales. On February 12, 2016, Ms.


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         Stewart notified franchisees that the Franchisor had decided to institute an incremental franchisee

         investment of $8 million in national media to support the System Change. This amount was

         explicitly “over and above [franchisees’] 2016 contribution[s] to the National Advertising Fund.”

                    46.   In sum, as the Franchisor’s own press release touted, the System Change required

         the “[p]urchase and installation of the grills, a combined 60,000 hours of training for meat cutters

         and the marketing campaign to support the introduction represent[ed] an investment of more than

         $75 million by Applebee’s franchisees.” As the New York Daily News put it at the time, “[n]ever

         has one company spent so much on so little.”8

                 D. The Franchisor Knew from the Start That the System Change Would Be a Failure.

                    47.   The problems with the Franchisor’s System Change were obvious from the start.

         As the Franchisor’s then-CEO Julia Stewart conceded to Fortune magazine at the time, she was

         not sure that it would be feasible for Applebee’s to change how it prepared steaks across all

         roughly 1,800 restaurants. “I remember saying, ‘Come on guys. You are in the test kitchen and

         everything is perfection,’” Stewart told Fortune. She recalled asking: “How am I going to

         duplicate this?”

                    48.   The Debtors and other franchisees had concerns from the beginning that the

         franchisor’s proposed System Change was ill conceived and poorly tested.

                    49.   Upon information and belief, the Franchisor’s tests of the System Change raised

         serious questions about its viability. The complete results were not shared with the Debtors or

         other franchisees. The Franchisor recklessly ignored these warning signs and did not take any

         action to scale back, amend, or adjust its plan to radically change the Applebee’s System as a

         result of these negative indications.

         8
          Applebee’s starts serving real steaks on a wood-fired grill — but gets same result, N.Y. Daily News (May 16,
         2016), available at http://www.nydailynews.com/life-style/eats/applebee-starts-serving-real-steaks-wood-fired-grill-
         article-1.2638797.
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                     50.    The Franchisor did not consult with its franchisees meaningfully or in good faith

         regarding the System Change and, proceeding with that change nonetheless, failed to give due

         consideration to the financial burden and risk to, and other interests of, franchisees in general and

         the Debtors in particular.

                     51.    Because the Franchisor had no alternative strategy, the Debtors and other

         franchisees went along with the System Change reluctantly. As explained in a June 20, 2016,

         report by the FBC:

                 •   “The testing of [the System Change] was non collaborative, there was no deviation

                     allowed and virtually no sharing of real information, cutting procedures etc”

                 •   “Expert meat cutter’s opinions were ignored and the financials were flawed”

                 •   The[franchisees], “despite being highly skeptical about the validity of the results, as well

                     as having no Plan B, all agreed to follow the brand and roll out the platform, furthermore

                     agreeing to invest a further $8,000,000.”

                     52.    The Debtors and other franchisees made their concerns known to the Franchisor,

         directly and through the FBC. The Franchisor did not listen to their reasoned complaints,

         however, and instead pushed forward with its “transformation,” ignoring their objections.

                 E. As Predicted, the System Change Was a Massive Failure from the Outset, Borne
                    Entirely by the Franchisees.

                     53.    The Debtors’ sales decline was apparent almost immediately after the System

         Change took effect. Just a month after rollout of the System Change, the FBC was able to report

         that the System Change “has been a disaster.”

                     54.    On June 10, 2016, the FBC emailed Ms. Stewart noting that franchisees were “in

         a crisis situation” and “seriously concerned by [her] general lack of communication and



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         leadership during this crisis.” The FBC felt “strongly” that Applebee’s advertising should focus

         on programs other than the hand-cut, wood-fired transformation “effective immediately.”

                  55.   On June 20, 2016, the FBC met with Ms. Stewart to discuss the “imminent threat

         to the survival of franchisees and the franchisor.” According to the FBC, “[y]ears of DineEquity

         leadership, mismanagement and bad decision making are threatening the very existence of a

         great brand,” and the “[d]eterioration has accelerated” with the System Change.

                  56.   Prior to the June 2016 meeting, the FBC’s membership was split regarding

         whether Ms. Stewart had to be replaced. After that meeting, however, the FBC was unanimous

         that she had to go but was thereafter denied access to the Dine Brands board to make its views

         known.

                  57.   On November 15, 2016, the Franchisor notified franchisees that it had fired its

         advertising agency and was beginning the search for a replacement. The new advertising agency

         did not debut until May 2017.

                  58.   The Franchisor pushed forward with its System Change for approximately 6 to 8

         months with messaging initiatives, even providing its franchisees with new guidelines for hand-

         cutting to make the steaks look bigger, before admitting that the System Change was a mistake

         and ordering its franchisees to return to the original System. But the damage was done. As the

         FBC reported, the System Change had already “caused sales and traffic to decline precipitously.”

                  59.   On or about December 21, 2016, the franchisees requested that the Franchisor

         remove all mention of the System Change from the March 2017 menu and that the Franchisor’s

         promotional efforts move away from promotion of the System Change.

                  60.   The Franchisor responded that the hand-cut steaks change would stay on the

         March and May 2017 menus but that the wood-fired grill change would be removed from the


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         March menu, subject to franchisees burning through their inventories of wood. The Franchisor

         further responded that it would revisit the focus of its promotions.

                 61.    The Franchisor had devoted nearly its entire advertising budget to the System

         Change, however, leaving the Applebee’s brand unable to pivot after the System Change failed

         and resulting in a 72% drop in the number of commercials Applebee’s was able to air in the two

         months following launch of the System Change.

                 62.    Unwinding the System Change was no small feat, however. The Debtors were

         contractually obligated to use a certain quantity of the more expensive USDA Choice steak, and

         it took fully another year for the Debtors to run through the quantity of steak they were

         contractually obligated to purchase, resulting in significant additional costs to the Debtors.

                 63.    The lost profits attributable to the Franchisor’s mismanagement had a multiplier

         effect on the enterprise value of every franchisee, including the Debtors. For the trailing twelve

         months ending March 31, 2018, the Debtors generated approximately $375.9 million in gross

         revenue, and $12.6 million of EBITDA, on a consolidated basis, a drop of 59.9%—in just two

         years—from the Debtors’ peak of $431.1 million and $31.4 million, respectively, in the twelve

         months ending March 31, 2016. Utilizing an industry multiple of 7.5 times EBITDA, the

         enterprise value of the Debtors alone was reduced by more than $141 million.




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                                                        Domestic Same-Restaurant Sales
                                            4
                                            2
                   % Increase (Decrease)



                                            0
                                            -2
                                            -4                     Franchisor
                                                                   relocates
                                            -6                     Applebee's
                                                                                        Launch of                              Franchisor
                                            -8                     Headquarters                                                sends
                                                                                        System Change
                                                                                                                               Notice of
                                           -10                                                                                 Default
                                                   Q1 2012
                                                   Q2 2012
                                                   Q3 2012
                                                   Q4 2012
                                                   Q1 2013
                                                   Q2 2013
                                                   Q3 2013
                                                   Q4 2013
                                                   Q1 2014
                                                   Q2 2014
                                                   Q3 2014
                                                   Q4 2014
                                                   Q1 2015
                                                   Q2 2015
                                                   Q3 2015
                                                   Q4 2015
                                                   Q1 2016
                                                   Q2 2016
                                                   Q3 2016
                                                   Q4 2016
                                                   Q1 2017
                                                   Q2 2017
                                                   Q3 2017
                                                   Q4 2017
                                                                  Applebee's       Casual Dining Segment


                           64.                   As demonstrated in the chart above, Applebee’s experienced ordinary variances in

         same-restaurant sales, with positive growth in 2014 and the first two quarters of 2015 (though the

         rate of growth was decelerating in 2015). After the Franchisor shuttered Applebee’s Kansas City

         headquarters in September 2015, however, stripping franchisees of their support system and

         leaving key marketing, training, and operational positions unfilled, same-restaurant sales

         declined precipitously the next quarter—and continued declining for the next 7 quarters (with the

         rate of decline accelerating over that period). During this period, Applebee’s same-restaurant

         sales figures fell far below those of its peers in the casual-dining segment.

                           65.                   Dine Brands’ board appeared to simply continue to watch Applebee’s sales

         deteriorate without intervention until, finally, the FBC demanded that it take action.

                 F. The Aftermath: Bain & Company’s Post-Mortem Confirms That the System
                    Change Was an Ill-Advised, Unmitigated Disaster.

                           66.                   In or around the fourth quarter of 2016, the Franchisor commissioned Bain &

         Company, a preeminent business consulting firm, to prepare an analysis of Applebee’s Brand


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         and Business Strategy, diagnosing some of the missteps made by the Franchisor that caused

         Applebee’s to underperform its category by such a wide margin in 2016–2017.

                 67.    Bain concluded, among other things, that guests were unsatisfied with portion

         sizes, along with the lack of unique crave-able quality food items, and that Applebee’s failed to

         capitalize on the takeout/delivery opportunities that its competitors seized. These shortcomings

         were institutional failures. According to Bain’s assessment, the Franchisor had a “[s]mall

         innovation pipeline [,] offering fewer alternatives and options to test from than ideal.”

                 68.    Moreover, the “relationship and ways of working between management and

         franchisees [was] unsustainable; lacking both trust and a sense of aligned incentives – leading to

         slow decision making and inconsistent execution/offering of promotions.”

                 69.    In particular, Bain traced the widening of the traffic gap between Applebee’s and

         its competitors to the roll-out of the System Change. The Franchisor “zigged,” focusing on

         quality, while its competitors “zagged,” doubling down on value. According to Bain’s analysis,

         even if the steak quality may have improved, Applebee’s customers did not know and did not

         care.

                 70.    Bain also diagnosed that the Franchisor’s decision-making process was

         fundamentally flawed. It was “[u]nclear who is accountable and responsible for final decision at

         each stage and/or how that decision should be made”; “[p]rocesses tend[ed] to be inefficient

         (frequent and time-consuming meetings)”; the “[l]ack of trust from franchisees raise[d] hurdle[s]

         on even minor changes[,] extending time-to-market significantly.”

                 71.    Moreover, Bain also found that the Franchisor failed to test its proposed System

         Change effectively or understand its impact before rolling it out, stating that the “mechanics” of

         the Franchisor’s tests “introduce[d] challenges in interpretation of results.” More specifically,


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         “[t]esting franchisee by franchisee limit[ed] [the Franchisor’s] ability to build a rep[resentative]

         sample (e.g., St. Louis selected for [buy-one-get-one] test but not representative of US market)

         . . . .” And the Franchisor’s “[i]nability to work directly with restaurant GMs limit[ed] [its]

         ability to ensure tests are deployed as intended, and franchisees setting own pricing during

         testing can challenge ability to effectively read results.” According to Bain, the Franchisor’s

         failure to perform multi-variable tests led “to challenges in understanding [the] impact of [the]

         different concept elements tested (e.g., [hand-cut] vs. [wood-fired] vs. USDA Choice) but also

         against other alternatives (e.g., vs. cast-iron).” The franchisees, for example, had specifically

         requested that the Franchisor run control tests comparing the hand-cut change to the wood-fired

         change. The Franchisor refused to do so.

                 72.    Compounding these failures, according to Bain, was that “[a]fter launch,” the

         Franchisor had “no feedback loop system that [would have] enable[d] continuous improvement

         over time.”

                 73.    In a letter to Ms. Stewart dated December 19, 2016, the FBC stated the franchisee

         community’s desire to have access to the Dine Brands board of directors. Ms. Stewart ignored

         this request, which the FBC repeated on January 3, 2017.

                 74.    On January 19, 2017, Richard Dahl, the lead director of Dine Brands, met with a

         representative of the franchisees who expressed that the franchisees did not believe they could

         trust Ms. Stewart and that she needed to be replaced.

                 75.    On February 17, 2017, the Franchisor announced to its franchisees that Ms.

         Stewart would be resigning effective March 1, 2017.




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                 G. The Franchisor Confesses, but Accepts No Responsibility for the Damage It Caused.

                    76.      On or about March 3, 2017, the Franchisor’s acting CEO Richard Dahl, who had

         served on the Dine Brands board since 2004, admitted in a call to investors that new products

         introduced during 2015 and 2016, like its hand-cut grilled meat, did not resonate well with

         customers and were “off target with value-focused trends in the industry.”

                    77.      On April 27, 2017, the Franchisor’s President John Cywinksi provided a brand

         overview, stating that “Applebee’s drifted from core guest and failed to enhance relevance” and

         that this was “[c]ompounded by 2016 tactical missteps.”

                    78.      Mr. Cywinksi further asserted that Applebee’s had “[s]elf-inflicted wounds on

         multiple fronts”:

                    •     Guest: Targeted more aspirational demographic while alienating the core

                    •     Operations: Widening variability of restaurant-level guest satisfaction

                    •     Menu: Aggressive item deletions, portion size reductions and diminished
                          innovation pipeline

                    •     Marketing: Inconsistent positioning/messaging, absence of lead-time and
                          compromised testing discipline

                    •     Franchisees: Absence of leadership/partnership … strained relationship

                    79.      Mr. Cywinksi further conceded that the Franchisor’s “[b]rand messaging ha[d]

         been uninspired and inconsistent.”

                    80.      On a May 2, 2017, earnings call, Mr. Cywinski said it’s his job to work with

         franchisees to repair the brand. He said some of the chain’s recent sales erosion has been self-

         inflicted, and it will take time to fully implement a plan to win back the support of former

         customers.

                    81.      When asked about the missteps that drove customers away from this iconic brand,

         Mr. Cywinski mentioned the primary mistakes made over the last 18 months:
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                    ON BRAND IDENTITY: “There was an attempt to kind of reposition the brand
                    in a somewhat aspirational manner around a modern bar and grill, and it’s very
                    clear from the data that we may have alienated some core guests in the process.”

                    ON PRICE: “This is a brand that’s always had a strong heritage around value. We
                    are an affordable indulgence, plain and simple — and a pretty accessible and
                    approachable one. Candidly, I think we’ve taken our eye off our core value
                    proposition over time.”

                    82.    Despite repeatedly conceding its missteps, the Franchisor never offered help to

         the franchisee network, such as reducing royalty rates, providing a royalty vacation, or doing

         anything else to help offset the financial damage it had caused the franchise network.

                    83.    The Dine Brands’ board witnessed all of these missteps firsthand and effectively

         took no action to correct them until the FBC demanded action.

                 H. The Debtors Cut Costs to Survive While Attempting to Negotiate a Reasonable
                    Solution with the Franchisor.

                    84.    To better navigate the challenging business environment, improve liquidity and

         ensure the continued viability of their franchised locations, over the past year the Debtors have

         engaged in considerable efforts to reduce cash expenditures.

                    85.    Among other things, the Debtors put off scheduled store refreshes/remodels,

         focusing its capital expenditures instead on maintenance and critical deferred maintenance items,

         and went through several reductions in force to compensate for their declining EBITDA.

                    86.    The Debtors also closed a number of their underperforming locations without

         objection from any representative of the Franchisor. The Franchise Agreements do not support

         the Franchisor’s assertion that the Debtors lacked authority to do so or that the Franchisor is

         entitled to “phantom” royalties for closed restaurants. The Franchisor never asserted a claim for

         such amounts prior to its Complaint, and in fact, franchisees were specifically told that there

         would be no penalties for closing certain stores.


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                 87.    As John Cywinski stated in an email dated August 11, 2017, reassuring

         franchisees about restaurant closures, “some franchisees are simply taking steps to ensure future

         success and long-term health. . . . Bottom line, you are best positioned to address any concerns

         as you are the decision-maker with respect to your markets and restaurants. You know your

         plans for closures and can reassure team members as to restaurants that are not closing (93% of

         restaurants nationally).”

                 88.    In the ordinary course of business, the Franchisor sends the Debtors two invoices

         at month end—one for royalty payments and one for contributions to the advertising fund.

         Historically, the Debtors paid both invoices with a single wire transfer.

                 89.    In June of 2017, after wasting significant funds on the Franchisor’s System

         Change and weathering 9 straight quarters of declining sales, the Debtors, confronted with the

         immutability of their debt payments, were unable to pay their monthly royalty fees.

                 90.    The Franchisor reached out to the Debtors and asked them to make the royalty

         payment for June because it was an earnings quarter for the publicly held Dine Brands. The

         Debtors made that June payment, albeit a month late, because of their longstanding relationship

         with the Franchisor, but were unable to make any further monthly royalty payments as of July

         2017.

                 91.    Other franchisees similarly paid only what they could, when they could. The

         Franchisor suggested that their franchisees should stop paying their Senior Lenders rather than

         stop the payments to the Franchisor.

                 92.    Upon information and belief, the Franchisor discriminated against the Debtors,

         giving more favorable treatment to other franchisees that were similarly unable to pay their

         monthly franchise fees.


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                 93.    After June 2017, the Debtors were unable to pay their royalty fees and maintain

         operational liquidity. However, the Debtors continued to pay the advertising invoice and to

         make timely contributions to the advertising fund to ensure the continued strength of the

         Applebee’s brand and associated goodwill. The Debtors gave the Franchisor advance notice that

         they were unable to pay royalties but would continue to make advertising contributions.

                 94.    At the time, the Debtors maintained a $3.5 million letter of credit to provide

         royalty support for the benefit of the Franchisor.

                 95.    In July 2017, the Debtors engaged Hilco Real Estate, LLC to approach the

         Debtors’ landlords in an effort to renegotiate and amend leases with lower rents, or negotiate

         lease terminations where appropriate. In an effort to conserve cash, the Debtors also withheld

         rent payments to select landlords where the Debtors’ management was negotiating lease

         amendments or terminations. Ultimately, the Debtors and Hilco reached agreements on

         improved terms for a number of locations, including entering into a global amended agreement

         with its largest landlord STORE Capital.

                 96.    As disclosed in Dine Brand’s 10-K for 2017, at least three other franchisees were

         similarly unable to make timely payment of their monthly royalty fees. Upon information and

         belief, Dine Brands loaned certain other franchisees experiencing financial difficulty money to

         allow those franchisees to make their monthly royalty payments, which had the effect of

         manufacturing higher earnings for Dine Brands. Upon information and belief, Dine Brands

         pressured franchisees whose payment obligations were secured by personal guaranties to get the

         franchisees to accept the loans. Dine Brands offered such a loan to the Debtors, but the Debtors

         declined.




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                 97.     Given their financial straits and limited liquidity, the Debtors were similarly

         unable to make the principal payments due to their Senior Lenders for October, November, and

         December 2017. In December 2017, the Debtors paid the Senior Lenders current and past due

         interest at a reduced default rate.

                 98.     On January 12, 2018, the Debtors made a payment in the amount $1,148,788.38

         to the Franchisor for the invoiced advertising contribution for December 2017. However, the

         Franchisor applied the advertising contribution to the Debtors’ unpaid November royalties in the

         amount of $973,189.61, with the remainder split between December advertising ($162,766.39)

         and royalties ($12,732.78). Simultaneously, the Franchisor was telling other franchisees that the

         Debtors were not contributing their fair share to the communal advertising fund.

                 99.     There is no provision in the Franchise Agreements that gives the Franchisor the

         right to unilaterally allocate payments designated by the Debtors for one obligation to a different

         obligation.

                 100.    Upon information and belief, the Franchisor diverted the Debtors’ advertising

         contributions for the purpose of publicly shaming the Debtors and damaging their relationships

         with other franchisees.

                 101.    With liquidity concerns mounting, the Debtors discontinued their contributions to

         the advertising fund starting in February 2018.

                 102.    The Debtors were at all times upfront with the Franchisor and their other

         stakeholders about their financial straits and the need to maintain sufficient liquidity to allow the

         franchises to continue operating in a manner consistent with Applebee’s reputation for quality

         and value.




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                 I. The Debtors’ Best Efforts at Prepetition Negotiations Are Met with Bad Faith.

                    103.   On or about September 1, 2016, the Debtors provided the Franchisor with a report

         on their finances, notifying the Franchisor of the Debtors’ impending financial crisis. Among

         other things, the Debtors’ report noted that, the Debtors’ trailing twelve-month EBITDA had

         declined by $2.8 million from the first quarter of 2016 to the second (that is, during the course of

         the Franchisor’s rollout of the System Change).

                    104.   In or around January 2017, with a majority of its franchisees having suffered

         financial decline, the Franchisor hired Trinity Capital Investment Banking (“Trinity”)

         purportedly on behalf of all Applebee’s stakeholders to try to stave off collapse of the entire

         enterprise. Indeed, at a lenders symposium held on April 27, 2017, a presentation by Trinity

         argued for a “[s]hared vision by all constituents that all parties will fare better in a consensual

         transaction versus bankruptcy.” Trinity’s retention, in and of itself, demonstrates the substantial

         harm inflicted by the Franchisor across the entire franchise network.

                    105.   Thus, at the outset of Trinity’s engagement, the Debtors believed that the

         Franchisor was committed to working collaboratively with the Debtors, their Senior Lenders, and

         equity-holders to return Applebee’s to historical profitability levels. The Debtors began good-

         faith discussions with Trinity to negotiate a workout that would be mutually beneficial to the

         Debtors, their Senior Lenders, the Franchisors, and the other Applebee’s franchisees.

                    106.   On September 12, 2017, Dine Brands appointed Stephen Joyce, a Dine Brands

         board member since 2012 and the former CEO of Choice Hotels, as its new CEO. In his first

         earnings call as Dine Brands’ CEO, Mr. Joyce stated that he was “looking forward to working

         further with [his] talented senior management team to strengthen the efforts already underway to

         build on the partnership with our franchisees.”


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                 107.   Instead, just days after Mr. Joyce’s appointment, on September 20, 2017, the

         Franchisor sent a notice of default (the “Notice of Default”) for failure to pay monthly royalty

         fees. The Franchisor demanded that the Debtors pay the overdue amount within 90 days of

         receipt of the letter and stated that the Franchise Agreements would thereafter expire

         automatically despite the requirement for written notice of termination under the Franchise

         Agreements: “For restaurants for which RMH does not cure the default, the franchise

         agreements for the restaurants will terminate on the 91st day without further notice . . . .” Notice

         of Default (emphasis added).

                 108.   Although the Debtors continued to negotiate a workout with Trinity throughout

         this period, as time went on, it became clear to the Debtors that Trinity was working to advance

         the Franchisor’s agenda without regard for other stakeholders. For instance, Trinity at one point

         drafted a proposed term sheet under which AFH would contribute further funds to the Debtors’

         enterprise, even though AFH had been explicit that it was not willing to do so. Trinity in fact

         circulated that term sheet to the Senior Lenders and the Franchisor despite the fact that AFH

         specifically instructed Trinity not to do so.

                 109.   In October 2017, frustrated with Trinity and dissatisfied with the lack of progress

         in negotiating a workout, the Debtors retained Mastodon Ventures Inc. (“Mastodon”) to

         represent them in discussions with the Franchisor. Mastodon is a well-known financial advisor

         that focuses its work on providing strategic advisory services to restaurant companies with

         enterprise values of $20 million to $400 million.

                 110.   Over the next several months, the Debtors’ representatives and the Franchisor’s

         representatives were in constant contact negotiating the terms of a workout.




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                   111.   On December 18, 2017, the Franchisor sent a letter purporting to extend the

         Debtors’ cure period to January 22, 2018: “In light of our scheduled call this week with respect

         to the restaurants in your portfolio, and without waiver of any of our rights and remedies, we are

         amenable to extend your cure period for the restaurants listed on the attached schedule by an

         additional 30 days to January 22, 2018. We reserve our right to revisit the extension at any

         time.” All of the Debtors’ restaurants were listed on the schedule attached to the Franchisor’s

         letter.

                   112.   On December 20, 2017, the Debtors provided the Franchisor with an initial

         restructuring proposal in advance of the teleconference scheduled for later that morning.

                   113.   On January 17, 2018, the Franchisor circulated its workout counterproposal in

         advance of a teleconference between the parties scheduled for that afternoon.

                   114.   Also on January 17, 2018, the Franchisor sent a “Notice of Termination of

         Development Agreements.” Referring back to the Notice of Default, the Franchisor’s Notice of

         Termination of Development Agreements stated: “To date, RMH has not cured any of the

         arrearages, and has not paid royalties and/or advertising fees since receiving that Notice. Each

         Development Agreement as well as all related amendments, supplements, and other ancillary

         agreements, including, without limitation, those listed on the attached list, has terminated.”

                   115.   On January 18, 2018, the Franchisor sent a letter purporting to further extend the

         Debtors’ cure period to February 18, 2018: “Without waiver of any of our rights and remedies,

         we are extending your cure period for the restaurants listed on the attached schedule to February

         18, 2018. We reserve our right to revisit the extension at any time.”

                   116.   On or around January 22, 2018, without notice to the Debtors, the Franchisor

         drew on the Debtors’ letters of credit in the full amount of $3.5 million, resulting in the Debtors


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         having to immediately replace the letter-of-credit draw to the banks with cash, which further

         reduced the Debtors’ liquidity. In light of the draw, Robert Hersch, a Senior Managing Director

         at Mastodon, emailed his counterparts at Trinity, canceling a call scheduled for later that day to

         discuss the Franchisor’s workout proposal and stating that the Franchisor’s draw was “really bad

         faith action.”

                 117.     Mr. Hersch also sought a face-to-face meeting with the Franchisor’s general

         counsel and wrote him an “Urgent” email stating that the Debtors could not repay the letter of

         credit and remain sustainable with regard to operating capital. Mr. Hersch urged the Franchisor

         to call him immediately to avoid any “unintended consequences.”

                 118.     On January 24, 2018, representatives from the Debtors and the Franchisor spoke

         by phone, with Mr. Hersch stating that the parties “made some progress” and would “likely find

         the correct path” soon. Mr. Hersch further warned, however, that the Debtors were “dangerously

         close to insufficient working capital.”

                 119.     The parties had a “productive” meeting on January 26, 2018, after which the

         Debtors indicated that they were “hard at work preparing a proposal” that reflected the parties’

         discussions.

                 120.     The Debtors had repaid approximately $2.5 million of the letter of credit to the

         banks and requested the Franchisor to contribute the remaining $1 million, which the Franchisor

         declined to do absent a global agreement.

                 121.     On February 8, 2018, the Franchisor sent a letter purporting to extend the

         Debtors’ cure period to March 1, 2018.

                 122.     On February 21, 2018, the parties met in New York as scheduled, and the Debtors

         made a comprehensive new proposal to resolve the parties’ dispute (the “February Proposal”).


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         The Franchisor’s representatives indicated that the February Proposal was constructive and

         would provide a path forward.

                 123.   On February 26, 2018, the Franchisor sent a letter purporting to extend the

         Debtors’ cure period to March 15, 2018.

                 124.   Mr. Hersch conferred with the Franchisor’s representatives on March 1, 2018, and

         began incorporating their comments and the Senior Lenders’ feedback, proposing that the parties

         “try to wrap this up in [M]arch so that the company can resume royalty and marketing payments

         according to the new agreement effective April 1.”

                 125.   On March 12, 2018, the Debtors informed the Franchisor that they were “getting

         close to a plan that should be workable for all.”

                 126.   Also on March 12, 2018, the Franchisor sent a letter purporting to extend the

         Debtors’ cure period to April 12, 2018.

                 127.   On March 15, 2018, Mr. Hersch received some verbal comments to the February

         Proposal from the Franchisor. On March 19, 2018, he responded to the Franchisor’s information

         request and stated that he needed the Franchisor’s comments to the list of store closures, as that

         was a “gating issue” to incorporating the Franchisor’s other comments to the February Proposal.

                 128.   On March 27, 2018, the Franchisor sent its written response to the Debtors’

         February Proposal. This proposal (the “March Proposal”) rejected substantially all of the items

         from the February meeting in New York and was completely at odds with the parties’

         conversations at the February meeting and on the Franchisor’s verbal comments from March 15.

                 129.   On April 11, 2018, and April 16, 2018, the Debtors informed the Franchisor that

         they had not yet received the Senior Lenders’ reaction to the March Proposal and were unable to

         respond to that proposal until they did.


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                 130.   On April 16, 2018, the Franchisor sent a letter asserting that the Debtors were

         delinquent in responding to the March Proposal. The Franchisor also sent a letter purporting to

         extend the Debtors’ cure period to April 26, 2018.

                 131.   On April 17, 2018, Mr. Hersch emailed Messrs. Adel and Barr as follows: “We

         just finished a call with the bank- I am hoping [sic] on a flight and have early meetings – will

         provide response tomorrow.”

                 132.   During a teleconference with the Franchisor’s general counsel on April 18, 2018,

         Mr. Hersch asserted that the terms of Franchisor’s March 27 Proposal were not consistent with

         the parties’ prior discussions. Mr. Hersch further asserted that the Debtors had been timely

         responding to the Franchisors’ proposals and that the parties should come to agreement on the

         economics of a resolution even if certain details still needed to be resolved.

                 133.   On April 23, 2018, Mr. Hersch sent the Franchisor the latest proposal (the “April

         Proposal”), noting that it was still subject to final approval from the Debtbors but that he wanted

         to provide the latest proposal in advance of the parties’ call that afternoon.

                 134.   On April 25, 2018, Ms. Cheong sent a letter claiming that the Debtors’ cure

         period had expired, notwithstanding its April 16 letter extending the cure period to April 26, and

         that the Franchisor was now forbearing “from taking any further actions . . . to enforce [its] rights

         and remedies” under the Franchise Agreements:

                 Without waiver of any of our rights and remedies under the applicable franchise
                 agreements for the Applebee’s restaurants listed on the attached schedule (the
                 “Franchise Restaurants”), Applebee’s agrees that it will forbear from taking any
                 further actions against you or the Franchise Restaurants, whether at law or in
                 equity, to enforce our rights and remedies against you or the Franchise
                 Restaurants, under or in connection with the franchise agreements, until May 8,
                 2018. This agreement to forbear is not an extension of the cure periods referred to
                 in prior Notices, which have already expired.



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                 135.   The Debtors and the Franchisor continued to work together on an operational

         level in the ordinary course of business. From April 30, 2018, through May 3, 2018, the Debtors

         held their annual General Manager Conference, with every restaurant general manager, director

         of operations, regional vice president, and department head in attendance. The Franchisor had

         six representatives in attendance. Five of the Franchisor’s field operators attended the entire

         event, and four participated in the Debtors’ training breakout sessions in front of every general

         manager and director of operations. Kevin Carroll, the Franchisor’s Chief Operations Officer,

         attended for two days and presented in a general session for approximately 50 minutes on May 2,

         2018. In his presentation, Mr. Carroll acknowledged the Franchisor’s missteps but made

         multiple references to working with the Debtors in the future—even leading some 230 of the

         Debtors’ key leaders in chanting the company’s “we are RMH” slogan.

                 136.   On May 1, 2018, Mr. Hersch emailed the Franchisor’s general counsel as follows:

         “Do you have any feedback for me. I am trying hard to wrap this up.”

                 137.   The response of the Franchisor’s general counsel, Bryan Adel, also dated May 1,

         2018, gave no indication that he believed the Franchise Agreements had terminated five days

         previously. Rather, Mr. Adel responded that the April Proposal was not agreeable and accused

         the Debtors of attempting to make the Franchisor responsible for “a bad loan that Acon entered

         into with Bank of Montreal.”

                 138.   On May 2, 2018, Mr. Hersch responded to the Franchisor as follows:

                 We have a meeting with our lenders May 9th. You are invited to join.

                 However, we would like to try and make headway with [the Franchisor] prior to
                 that date.

                 ....

                 I feel the absolute need to point out that RMH is not attempting to make [the
                 Franchisor] responsible for a bad loan that Acon entered into with Bank of
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                  Montreal. On the contrary, [the Franchisor] is responsible for the fact that the
                  RMH cash flow declined by over 50% between 2015 and 2017 (similar to most
                  other franchisees in the system). Absent the brand failings the loan with BMO is
                  actually a great loan for RMH because RMH does not have to consume any cash
                  for interest or amortization – there’s no better loan than that. Acon has acted as
                  benefactor to [the Franchisor] in that a strong operator took over stores from a
                  weaker operator. Further Acon’s capital structure has saved both RMH and [the
                  Franchisor] [from] disaster. Imagine if there was no guarantee and all the debt
                  was senior and amortizing, is there any scenario where this company with that
                  structure would not be in bankruptcy? Acon is not asking [the Franchisor] to save
                  RMH from any mistakes, other than the mistakes made at the brand level. The
                  issue is not [the Franchisor’s] responsibility for the loan, but rather the loss of
                  50% of the EBITDA. Given that both perspectives have now been aired, can we
                  move forward ahead of May 9th to complete an agreement that will ensure the
                  continued operation of more than 150 stores paying millions in royalties. The
                  Agreement we offered allows all parties to focus on the future [while] recognizing
                  that the past has been painful to all.

                  Please let me know when you would next like to speak.

                  139.   On May 4, 2018, the chairman of AFH’s board, Daniel Jinich, and the

         Franchisor’s CEO, Stephen Joyce, arranged a call for May 7, 2018. Mr. Joyce gave no

         indication that he believed the Franchise Agreements had terminated 8 days previously.

                  140.   During that call on May 7, 2018, none of the Franchisor’s representatives gave

         any indication that they believed the Franchise Agreements had terminated 11 days previously.

         To the contrary, the Franchisor expressly stated it would terminate the Arizona and Texas

         franchise agreements unless the Debtors paid $12 million by the end of the day.

                  141.   These actions demonstrate Dine Brands’ complete lack of concern for the

         Applebee’s franchisee community. The decision to abruptly abandon confidential, good-faith

         negotiations with the Debtors and to make the parties’ disputes public has cast a dark cloud over

         the Applebee’s brand and strained the franchisee network at a time when Applebee’s was only

         just recovering from the harms inflicted on the Debtors and other franchisees under Dine Brands’

         watch.


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                 J. The Franchisor’s Improper Attempt to Terminate Postpetition.

                    142.   On May 8, 2018, at approximately 3:30 a.m. (ET), the Debtors filed their chapter

         11 bankruptcy cases—halting, and rendering void ab initio, any efforts by the Franchisor to

         exercise its right to terminate the Franchise Agreements. At approximately 5:59 AM on May 8,

         2018, Mr. Hersch emailed the Franchisor’s representatives, informing them of the bankruptcy

         filing.

                    143.   At approximately 8:02 a.m. on May 8, 2018—approximately 4.5 hours after the

         Debtors filed bankruptcy—the Franchisor hand-delivered a letter, to the address indicated

         therein, with subject line “Re: Termination of Franchise Agreements for Restaurants in Arizona

         and Texas,” stating that the Franchisor was purporting to terminate the Franchise Agreements for

         the Debtors’ 41 restaurants located in Arizona and Texas, with such termination supposedly

         retroactive to April 27, 2018.

                    144.   The Franchisor attempted to cherry-pick the Debtors’ best-performing stores by

         targeting the Arizona and Texas markets, which, through April 2018, were generating 2018

         store-level EBITDA margins of 11.2%, as compared to store-level EBITDA margins of 9.3% for

         the remaining markets. In addition, the Franchisor specifically excluded two underperforming

         stores in Arizona and Texas, which it tried to leave for the Debtors to de-image and close.

                    145.   The Franchisor generally has the ability to obtain the Debtors’ sales figures on a

         daily basis. After dragging out the workout negotiations for 16 months, the Franchisor attempted

         to grab the Debtors’ restaurants at nearly the precise moment that the Debtors’ business was

         starting to improve—which it did in the first quarter of 2018.

                    146.   Concurrently with the letter purporting to terminate the Franchise Agreements for

         the Debtors’ 41 Arizona and Texas locations, the Franchisor sent the Debtors a further letter


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         stating that the Franchisor agreed that it would “forbear from enforcing its termination rights . . .

         until May 20, 2018” for the Debtors’ 133 franchises not located in Arizona or Texas. The

         Franchisor’s letter further stated: “This agreement to forbear is not an extension or a restarting

         of the cure period referred to in prior Notice, which has already expired, nor is it a new cure

         period.”

                     147.   In addition, also on May 8, 2018, the Franchisor filed its Complaint for Damages,

         a Temporary-Restraining Order, and Preliminary and Permanent Injunctive Relief in the United

         States District Court for the District of Kansas in violation of the automatic stay. See Applebee’s

         Restaurants LLC v. RMH Franchise Corp., Case No. 18-cv-02226-JAR-GLR (D. Kan. May 8,

         2018) (the “Kansas Complaint”).

                     148.   In the Kansas Complaint, the Franchisor asserted the following facts:

                 •   “On May 7, 2018, during a telephone call among multiple representatives of Applebee’s
                     and RMH, Applebee’s notified RMH that Applebee’s would be exercising certain
                     termination rights on May 8, 2018 with respect to the Arizona and Texas franchises . . . .”
                     Kansas Complaint ¶ 9 (emphasis added).

                 •   “[O]n April 25, 2018, Applebee’s notified RMH that Applebee’s agreed to forebear from
                     taking any further actions against RMH until May 8, 2018, to allow the parties time to
                     see if an amicable resolution was possible.” Kansas Complaint ¶ 56 (emphasis added).

                 •   “In the afternoon of May 7, 2018, Applebee’s representatives called RMH and informed
                     RMH that Applebee’s intended to exercise its termination rights on May 8, 2018 for the
                     Arizona and Texas franchises . . . .” Kansas Complaint ¶ 58 (emphasis added).

                 •   “Based on RMH’s stated position on the May 7, 2018 telephone call, by letter dated May
                     8, 2018, Applebee’s notified RMH that the Franchise Agreements for the Arizona and
                     Texas franchises terminated on April 27, 2018 . . . .” Kansas Complaint ¶ 59 (emphasis
                     added).

                     149.   After the Debtors’ bankruptcy filing, the Franchisor’s President John Cywinksi

         called Jeff Neumann, the Debtors’ founder and currently board member of AFH, to state that

         Dine Brands would continue to support the Debtors as it always had and expected the same from

         the Debtors.
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                    150.   On June 5, 2018, the Franchisor announced that Bryan Marks, who formerly

         served in operations leadership roles with several franchisees, would be joining the Franchisor as

         Vice President of Operations, effective July 16, 2018. Upon information and belief, the

         Franchisor hired Mr. Marks with the intention of having him take over operation of the Debtors’

         restaurants.

                 K. Dine Brands Engages in Further Postpetition Misconduct, Announcing Its
                    Competing “IHOb” Rebrand.

                    151.   On June 11, 2018, Dine Brands announced that its IHOP franchise would be

         rebranding as IHOb—with the “b” standing for “burgers”—bringing IHOb into direct

         competition with the Debtors and other Applebee’s franchisees.

                    152.   Dine Brands franchised 1,671 IHOb restaurants across the United States.

                    153.   In the press release announcing the rebranding, Brad Haley, Chief Marketing

         Officer for IHOb restaurants, asserted that “when you try them, I think you’ll agree with me that

         IHOb’s new line of Ultimate Steakburgers are so good that I’d put them up against anyone’s

         . . . .”

                    154.   In 2017, approximately 16% of the Debtors’ entrée sales were in the burger

         category.

                    155.   Much of the recent Applebee’s advertising campaign—for which Dine Brands

         asked Applebee’s franchisees to pay for an increased portion of the bill—is focused on

         advertising burgers.

                    156.   In addition, in a recent Dine Brands’ earnings call, Dine Brands’ CEO Steve

         Joyce promised to continue to position Applebee’s with its traditional customers and touted the

         new burger menu’s popularity with millennial consumers.



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                 157.   Dine Brands unveiled its ballyhooed rebranding of IHOP at the same time that

         Applebee’s was debuting an innovative new technology that allows customers to order ahead so

         that their food is ready upon arrival at the restaurant. Dine Brand’s promotion of the IHOb

         rebranding overshadowed Applebee’s own initiative. While Dine Brands is indifferent to the

         IHOb’s competition with Applebee’s franchises, the Debtors are not.

                                                      COUNT I
                                            (BREACH OF CONTRACT)
                                           (Against the Dine Subsidiaries)

                 158.   The Debtors repeat and reallege each and every allegation in the foregoing

         paragraphs as if fully set forth herein.

                 159.   The Debtors and the Dine Subsidiaries entered into franchise agreements under

         which both parties have contractual rights and obligations. The Franchise Agreements are valid

         and binding contracts.

                 160.   The Applebee’s unique “System” is at the heart of the Franchise Agreements.

         The very first Recital of the Franchise Agreements defines “the System” as Applebee’s “designs,

         decor and color schemes for restaurant premises, signs, equipment, procedures and formulae for

         preparing food and beverage products, specifications for certain food and beverage products,

         inventory methods, operating methods, financial control concepts, training facilities and teaching

         techniques.” Franchise Agreement, Recital A.

                 161.   The Applebee’s System had an established track record of success and

         profitability, and has earned Applebee’s pride of place among bar-and-grill franchises.

                 162.   The Debtors agreed to enter into the Franchise Agreements and become

         Applebee’s franchisees because of, and in reliance on, the Applebee’s System.




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                 163.   The System is fundamental to the Franchise Agreements, and the Debtors would

         not have entered into those agreements absent the Applebee’s system.

                 164.   The Dine Subsidiaries abandoned the System contemplated under the Franchise

         Agreements by, among other things:

                           a. Operating with numerous key positions, including president, head of

                               marketing, and head of technology/IT, unfilled for lengthy periods of time

                               and then hiring executives without relevant restaurant industry experience;

                           b. Failing to provide franchisees with reasonable marketing, training, or

                               operational support;

                           c. Performing inadequate testing of the System Change, failing to share test

                               results with the Debtors, suppressing unfavorable test results, and failing

                               to amend or adjust course in light of unfavorable test results;

                           d. Causing the Debtors to abandon the traditional gas grills, which had

                               become an industry standard, and install new wood-fired grill platforms in

                               all restaurants, imposing immense costs on the Debtors;

                           e. Causing the Debtors to use more expensive USDA Choice steaks and to

                               hand-cut those steaks daily, which came at enormous cost to the Debtors

                               as it required extensive training for kitchen personnel and increased the

                               amount of steak that the Debtors’ restaurants were forced to discard as

                               waste;

                           f. Transforming the taste and flavor profile of fully 40% of the items on

                               Applebee’s then-existing menu;




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                            g. Abandoning the Applebee’s core customers in favor of “millennials”

                                whose interests and outlook were diametrically opposed to those of

                                Applebee’s core customers; and

                            h. Threatening the Debtors with termination of the Franchise Agreements if

                                the Debtors did not agree to pay $12 million by the end of the day on May

                                7, 2018.

                 165.   The Dine Subsidiaries’ wholesale abandonment of the System contemplated

         under the Franchise Agreements is a material violation of those agreements and has deprived the

         Debtors of the benefit of their bargain.

                 166.   Nothing in the Franchise Agreements permits the Dine Subsidiaries to make such

         wholesale changes to the System that the Debtors had agreed to implement under the Franchise

         Agreements. Moreover, the Franchise Agreements require that any revision or amendment to the

         System must be “in the good faith exercise of [the Franchisor’s] reasonable business judgment,

         consistent with the overall best interests of the System generally, [and] having due regard for the

         financial burden which may be placed upon its franchisees[,]” none of which can be said with

         respect to the System Change.

                 167.   As a result of the Dine Subsidiaries’ abandonment of the System that the Debtors

         had agreed to implement under the Franchise Agreements, which was a fundamental term of

         those Franchise Agreements, and failure to implement the System Change consistent with

         reasonable business judgment and the overall best interests of the System generally, without due

         regard for the financial burden placed on the franchisees, the Dine Subsidiaries have materially

         breached those agreements.




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                 168.   The Dine Subsidiaries’ breach of the Franchise Agreements excused the Debtors

         from performance thereunder.

                 169.   The Debtors have suffered, and will continue to suffer, a material reduction in

         enterprise value and other damages as a result of this breach of the Franchise Agreements,

         including, but not limited to, financial injury and lost business opportunities.

                 170.   In addition, the Debtors are entitled to reasonable attorneys’ fees in connection

         with this proceeding pursuant to section 19.3 of the Franchise Agreement.

                                               COUNT II
                           (BREACH OF CONTRACT—IMPLIED COVENANT OF
                                 GOOD FAITH AND FAIR DEALING)
                                     (Against the Dine Subsidiaries)

                 171.   The Debtors repeat and reallege each and every allegation in the foregoing

         paragraphs as if fully set forth herein.

                 172.   The Debtors and the Dine Subsidiaries entered into franchise agreements under

         which both parties have contractual rights and obligations. The Franchise Agreements are valid

         and binding contracts.

                 173.   Inherent to the Franchise Agreements is an implied covenant that the parties will

         act in good faith and deal fairly with each other in the performance of their respective covenants

         and obligations under the contract and will not take any action that will injure the other party or

         compromise their benefit of the contract.

                 174.   The implied covenant of good faith and fair dealing applies to the Franchise

         Agreements.

                 175.   The Dine Subsidiaries have violated the implied covenant of good faith and fair

         dealing and denied the Debtors the ability to achieve their reasonable expectations in entering

         into the franchise relationship by, among other things:

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                 a. Operating with numerous key positions, including president, head of

                    marketing, and head of technology/IT, unfilled for lengthy periods of time

                    and then hiring executives without relevant restaurant industry experience;

                 b. Failing to provide franchisees with reasonable marketing, training, or

                    operational support;

                 c. Performing inadequate testing of the System Change, failing to share test

                    results with the Debtors, suppressing unfavorable test results, and failing

                    to amend or adjust course in light of unfavorable test results;

                 d. Imposing commercially unreasonable system changes on the Debtors that

                    served to materially and negatively change the nature of the Debtors’

                    franchisee business, disregarded the best interests of the franchisees and

                    the financial burden placed on them, detrimentally affected profit margins,

                    and caused previously profitable franchise locations to be rendered near-

                    inoperable due to unnecessary financial strain;

                 e. Disregarding the reasonable expectation that the Dine Subsidiaries would

                    not unilaterally terminate their franchise agreements after the Debtors

                    spent significant time, resources, and capital investment on required

                    system updates and devoted significant time and effort on negotiating a

                    consensual, mutually beneficial workout; and

                 f. Threatening the Debtors with termination of the Franchise Agreements if

                    the Debtors did not agree to pay $12 million by the end of the day on May

                    7, 2018.




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                                             65
                 176.   The Dine Subsidiaries caused the Debtors to abandon the traditional gas grills that

         had become an industry standard and install new wood-fired grill platforms in all restaurants,

         imposing immense costs on the Debtors at a time when Debtors were experiencing 9 straight

         quarters of steadily diminishing sales.

                 177.   The Dine Subsidiaries caused the Debtors to use more expensive USDA Choice

         steaks and to hand-cut those steaks daily, which came at enormous cost to the Debtors as it

         required extensive training for kitchen personnel and increased the amount of steak that the

         Debtors’ restaurants were forced to discard as waste.

                 178.   On top of the significant capital expenditures, the Dine Subsidiaries caused the

         Debtors to make unprecedented contributions to the advertising funds to market and promote

         Applebee’s “transformation.”

                 179.   The Dine Subsidiaries failed to exercise reasonable care or business judgment in

         testing or evaluating their “transformation” of Applebee’s before causing the Debtors to

         implement that System Change.

                 180.   The Dine Subsidiaries ignored the reasoned objections that had been made to their

         proposed “transformation” by the Debtors, the FBC, and other franchisees.

                 181.   After causing the Debtors to incur huge expense in its proposed “transformation”

         of the Applebee’s brand and causing the Debtors to suffer financial decline quarter after quarter,

         the Dine Subsidiaries coaxed the Debtors into false restructuring negotiations and sought to steal

         the Debtors’ franchises as soon as the Debtors had bottomed out and were poised to rebound.

                 182.   The Dine Subsidiaries led the Debtors on during the purported workout

         negotiations, regularly extending the Debtors’ cure period, before abruptly refusing further

         negotiations and purporting to terminate the Debtors’ franchises unilaterally.


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                 183.   The Dine Subsidiaries’ abrupt, unilateral attempt to terminate the Franchise

         Agreements was contrary to the parties’ course of dealing and to reasonable business

         expectations and practice, and was made in bad faith.

                 184.   As a result of the Dine Subsidiaries’ ongoing actions and/or omissions during the

         parties’ franchise relationship, the Debtors have suffered, and will continue to suffer, a material

         reduction in enterprise value and other damages as a result of the Dine Subsidiaries’ breach of

         the implied covenant of good faith and fair dealing contained in the franchise agreements,

         including, but not limited to, financial injury and lost business opportunities.

                 185.   In addition, the Debtors are entitled to reasonable attorneys’ fees in connection

         with this proceeding pursuant to section 19.3 of the Franchise Agreement.

                                              COUNT III
                         (BREACH OF IMPLIED WARRANTY OF COMPETENCE)
                                    (Against the Dine Subsidiaries)

                 186.   The Debtors repeat and reallege each and every allegation in the foregoing

         paragraphs as if fully set forth herein.

                 187.   The Debtors and the Dine Subsidiaries entered into franchise agreements under

         which both parties have contractual rights and obligations. The Franchise Agreements are valid

         and binding contracts.

                 188.   The implied warranty of competence and workmanlike performance is imposed

         upon the parties by operation of law.

                 189.   The Franchise Agreements involve the performance of work and delivery of

         services by the Dine Subsidiaries.

                 190.   The Debtors entered into the Franchise Agreements based in part on the Dine

         Subsidiaries’ claimed “know-how.”


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                 191.   The implied warranty of competence and workmanlike performance arises

         because of the parties’ agreement under the Franchise Agreements.

                 192.   The Dine Subsidiaries have violated the implied warranty of competence and

         workmanlike performance and denied the Debtors the ability to achieve their reasonable

         expectations in entering into the franchise relationship by, among other things:

                            a. Operating with numerous key positions, including president, head of

                               marketing, and head of technology/IT, unfilled for lengthy periods of time

                               and then hiring executives without relevant restaurant industry experience;

                            b. Failing to provide franchisees with reasonable marketing, training, or

                               operational support;

                            c. Performing inadequate testing of the System Change, failing to share test

                               results with the Debtors, suppressing unfavorable test results, and failing

                               to amend or adjust course in light of unfavorable test results; and

                            d. Imposing commercially unreasonable system changes on the Debtors that

                               served to materially and negatively change the nature of the Debtors’

                               franchisee business, detrimentally affect profit margins, and cause

                               previously profitable franchise locations to be rendered near-inoperable

                               due to unnecessary financial strain.

                 193.   The Dine Subsidiaries caused the Debtors to abandon the traditional gas grills that

         had become an industry standard and install new wood-fired grill platforms in all restaurants,

         imposing immense costs on the Debtors at a time when Debtors were experiencing 9 straight

         quarters of diminishing sales.




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                 194.   The Dine Subsidiaries caused the Debtors to use more expensive USDA Choice

         steaks and to hand-cut those steaks daily, which came at enormous cost to the Debtors as it

         required extensive training for kitchen personnel and increased the amount of steak that the

         Debtors’ restaurants were forced to discard as waste.

                 195.   On top of the significant capital expenditures, the Dine Subsidiaries caused the

         Debtors to make unprecedented contributions to the advertising funds to market and promote

         Applebee’s “transformation.”

                 196.   The Dine Subsidiaries failed to exercise reasonable care or business judgment in

         testing or evaluating the transformative System Change before causing the Debtors to implement

         it.

                 197.   The System Change that the Dine Subsidiaries caused the Debtors to implement

         was not tested, prepared, or planned with reasonable care or business judgment.

                 198.   The Dine Subsidiaries withheld test results from the Debtors, suppressed

         unfavorable test results, and proceeded with the System Change without amendment or

         adjustment despite unfavorable test results.

                 199.   The Dine Subsidiaries ignored the reasoned objections that had been made to their

         proposed “transformation” by the Debtors, the FBC, and other franchisees.

                 200.   After causing the Debtors to incur huge expense in its ill-fated “transformation”

         of the Applebee’s brand and causing the Debtors to suffer financial decline quarter after quarter,

         the Dine Subsidiaries coaxed the Debtors into bad faith restructuring negotiations and sought to

         steal the Debtors’ franchises as soon as the Debtors had bottomed out and were poised to

         rebound.




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                 201.   The Dine Subsidiaries led the Debtors on during the purported workout

         negotiations, regularly extending the Debtors’ cure period, before abruptly refusing further

         negotiations and purporting to terminate the Debtors’ franchises unilaterally and seize them for

         themselves once the franchises were regaining their footing.

                 202.   The Dine Subsidiaries’ abrupt, unilateral attempt to terminate the Franchise

         Agreements was contrary to the parties’ course of dealing and to reasonable business

         expectations and practice, and was made in bad faith.

                 203.   As a result of the Dine Subsidiaries’ ongoing actions and/or omissions during the

         parties’ franchise relationship, the Debtors have suffered, and will continue to suffer, a material

         reduction in enterprise value and other damages as a result of the Dine Subsidiaries’ breach of

         the implied warranty of competence and workmanlike performance, including, but not limited to,

         financial injury and lost business opportunities.

                                             COUNT IV
                           (TORTIOUS INTERFERENCE WITH CONTRACTUAL
                                RELATIONSHIPS—SYSTEM CHANGE)
                                        (Against Dine Brands)

                 204.   The Debtors repeat and reallege each and every allegation in the foregoing

         paragraphs as if fully set forth herein.

                 205.   The Debtors and the Dine Subsidiaries entered into franchise agreements under

         which both parties have contractual rights and obligations. The Franchise Agreements are valid

         and binding contracts.

                 206.   The Debtors have contractual rights to use the Applebee’s Marks and System.

                 207.   Dine Brands is the ultimate parent company of the Dine Subsidiaries.

                 208.   Dine Brands has full and actual knowledge of the Debtors’ contractual

         relationship with the Dine Subsidiaries.

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                 209.   Dine Brands closed Applebee’s Kansas City headquarters and moved Applebee’s

         to its own headquarters in Glendale, California.

                 210.   Numerous Applebee’s personnel, many of them longstanding employees, opposed

         the relocation and declined to transfer. Thereafter, Dine Brands intentionally induced the Dine

         Subsidiaries to operate with numerous key positions unfilled for lengthy periods of time.

                 211.   The Debtors and other franchisees suffered from having these key position

         unfilled. Dine Brands intentionally induced the Dine Subsidiaries to fail to provide their

         franchisees with reasonable marketing, training, or operational support.

                 212.   Dine Brands intentionally induced the Dine Subsidiaries to cause the Debtors to

         make significant capital expenditures in a commercially unreasonable attempt to transform the

         Applebee’s brand:

                             a. Dine Brands intentionally induced the Dine Subsidiaries to cause the

                                Debtors to abandon the traditional gas grills that had become an industry

                                standard in favor of new wood-fired grill platforms in all restaurants.

                             b. Dine Brands intentionally induced the Dine Subsidiaries to cause the

                                Debtors to use more expensive USDA Choice steaks.

                             c. Dine Brands intentionally induced the Dine Subsidiaries to cause the

                                Debtors to hand-cut its steaks daily, requiring extensive training for

                                kitchen personnel and increasing the amount of steak that restaurants were

                                forced to discard as waste.

                             d. Dine Brands intentionally induced the Dine Subsidiaries to cause the

                                Debtors to make unprecedented contributions to the advertising funds at a




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                                                            71
                                  time when the Debtors were experiencing 9 straight quarters of steadily

                                  diminishing sales.

                    213.   The System Change that Dine Brands intentionally induced the Dine Subsidiaries

         to implement was not tested, prepared, or planned with reasonable care or business judgment.

                    214.   Dine Brands intentionally induced the Dine Subsidiaries to withhold test results

         from the Debtors, suppress unfavorable test results, and proceed with the System Change without

         amendment or adjustment despite unfavorable test results.

                    215.   Dine Brands threatened to intentionally induce the Dine Subsidiaries to terminate

         of the Franchise Agreements if the Debtors did not agree to pay $12 million by the end of the

         day on May 7, 2018.

                    216.   On June 11, 2018, Dine Brands announced that it was rebranding its IHOP

         franchise as IHOb—with the “b” standing for “burgers”—exacerbating the deterioration of

         Applebee’s brand.

                    217.   Dine Brands franchised 1,671 IHOb restaurants across the United States.

                    218.   In the press release announcing the rebranding, Brad Haley, Chief Marketing

         Officer for IHOb restaurants, asserted that “when you try them, I think you’ll agree with me that

         IHOb’s new line of Ultimate Steakburgers are so good that I’d put them up against anyone’s

         . . . .”

                    219.   In 2017, approximately 16% of the Debtors’ entrée sales were in the burger

         category.

                    220.   Much of the recent Applebee’s advertising campaign—for which Dine Brands

         asked Applebee’s franchisees to pay for an increased portion of the bill—is focused on

         advertising burgers.


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                 221.   In addition, in a recent Dine Brands’ earnings call, Dine Brands’ CEO Steve

         Joyce promised to continue to position Applebee’s with its traditional customers and touted the

         new burger menu’s popularity with millennial consumers.

                 222.   Dine Brands unveiled its ballyhooed rebranding of IHOP at the same time that

         Applebee’s was debuting an innovative new technology that allows customers to order ahead so

         that their food is ready upon arrival at the restaurant. Dine Brand’s promotion of the IHOb

         rebranding overshadowed Applebee’s own initiative.

                 223.   Dine Brands knew, or should have known, that such actions and/or omissions

         would naturally and probably result in damages to the Debtors, but Dine Brands continued such

         conduct and/or omissions with reckless disregard of the consequences and Dine Brands

         intentionally pursued a course of conduct the purpose of which was causing damage to the

         Debtors.

                 224.   Dine Brands had and has no lawful justification for its tortious interference with

         the Debtors’ contracts and prospective economic advantage with the Dine Subsidiaries.

                 225.   As a result of Dine Brands’ tortious interference with the Debtors’ contractual

         relationship with the Dine Subsidiaries, the Debtors have incurred economic damages in an

         amount to be proven at trial.

                                             COUNT V
                           (TORTIOUS INTERFERENCE WITH CONTRACTUAL
                             RELATIONSHIPS—IMPROPER TERMINATION)
                                        (Against Dine Brands)

                 226.   The Debtors repeat and reallege each and every allegation in the foregoing

         paragraphs as if fully set forth herein.




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                 227.   The Debtors and the Dine Subsidiaries entered into franchise agreements under

         which both parties have contractual rights and obligations. The Franchise Agreements are valid

         and binding contracts.

                 228.   The Debtors have contractual rights to use the Applebee’s Marks and System.

                 229.   Dine Brands is the ultimate parent company of the Dine Subsidiaries.

                 230.   Dine Brands has full and actual knowledge of the Debtors’ contractual

         relationship with the Dine Subsidiaries.

                 231.   The Franchise Agreements require the designated franchisor under the contract to

         provide written notice of termination.

                 232.   Dine Brands intentionally induced the Dine Subsidiaries to purport to terminate

         its contracts with the Debtors automatically after 90 days without the written notice of

         termination required under the Franchise Agreements.

                 233.   Dine Brands threatened to intentionally induce the Dine Subsidiaries to terminate

         of the Franchise Agreements if the Debtors did not agree to pay $12 million by the end of the

         day on May 7, 2018.

                 234.   Dine Brands knew, or should have known, that such actions and/or omissions

         would naturally and probably result in damages to the Debtors, but Dine Brands continued such

         conduct and/or omissions with reckless disregard of the consequences and Dine Brands

         intentionally pursued a course of conduct the purpose of which was causing damage to the

         Debtors.

                 235.   Dine Brands had and has no lawful justification for its tortious interference with

         the Debtors’ contracts and prospective economic advantage with the Dine Subsidiaries.




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                                                         74
                 236.   As a result of Dine Brands’ tortious interference with the Debtors’ contractual

         relationship with the Dine Subsidiaries, the Debtors have incurred economic damages in an

         amount to be proven at trial.

                                     COUNT VI
         (DECLARATORY JUDGMENT THAT THE FRANCHISE AGREEMENTS WERE NOT
             TERMINATED PREPETITION AND ARE PROPERTY OF THE ESTATES)
                               (Against the Franchisor)

                 237.   The Debtors repeat and reallege each and every allegation in the foregoing

         paragraphs as if fully set forth herein.

                 238.   Section 19.1 of the various Franchise Agreements states that the “Franchisor shall

         have the right to terminate this Agreement immediately upon written notice to Franchisor stating

         the reason for such termination[.]”

                 239.   A notice of cancellation of contract must be clear and unambiguous to be

         effective.

                 240.   Non-compliance with termination provisions of a contract are grounds for voiding

         the terminations thereof as ineffective.

                 241.   On September 20, 2017, the Franchisor sent a letter declaring a default and stating

         that, unless the Debtors paid the overdue royalty fees within 90 days, the Franchise Agreements

         would terminate without further notice.

                 242.   For many of the Franchise Agreements, the Franchisor failed to deliver its letter

         dated September 20, 2017, to the addresses set forth in the Franchise Agreements for giving

         proper notice thereunder.

                 243.   On December 18, 2017, the Franchisor sent a letter purporting to extend the

         deadline to cure the defaults under the Franchise Agreements to January 22, 2018.



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                 244.   On January 17, 2018, the Franchisor sent a “Notice of Termination of

         Development Agreements.” Referring back to the Notice of Default, the Franchisor’s Notice of

         Termination of Development Agreements stated: “To date, RMH has not cured any of the

         arrearages, and has not paid royalties and/or advertising fees since receiving that Notice. Each

         Development Agreement as well as all related amendments, supplements, and other ancillary

         agreements, including, without limitation, those listed on the attached list, has terminated.”

                 245.   On January 18, 2018, the Franchisor sent a letter purporting to further extend the

         cure period for the Franchise Agreements to February 18, 2018.

                 246.   On February 8, 2018, the Franchisor sent a further letter purporting to extend the

         cure period to March 1, 2018.

                 247.   On February 26, 2018, the Franchisor sent a letter purporting to further extend the

         cure period to March 15, 2018.

                 248.   On March 12, 2018, the Franchisor sent a further letter purporting to extend the

         cure period to April 12, 2018.

                 249.   On April 9, 2018, the Franchisor sent a letter purporting to further extend the

         Debtors’ cure period to April 19, 2018.

                 250.   On April 16, 2018, the Franchisor sent a further letter purporting to extend the

         Debtors’ cure period to April 26, 2018.

                 251.   On April 25, 2018, the Franchisor sent a letter stating that the Franchisor agreed

         that it would “forbear from taking any further actions against you or the Franchise Restaurants,

         whether at law or in equity, to enforce our rights and remedies against you or the Franchise

         Restaurants, under or in connection with the franchise agreements, until May 8, 2018.” Despite

         the fact that the Franchisor had previously extended the Debtors’ cure period to April 26, 2018,


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         the Franchisor’s April 25 letter stated: “This agreement to forbear is not an extension of the cure

         periods referred to in prior Notice, which have already expired.”

                 252.   The Franchisor’s letter dated April 25, 2018, makes plain that the Franchisor was

         required to take “further action” to exercise its right to terminate under the Franchise

         Agreements.

                 253.   On May 7, 2018, the Franchisor threatened to terminate of the Franchise

         Agreements if the Debtors did not agree to pay $12 million by the end of the day.

                 254.   When the Franchisor sought to terminate the Development Agreements with the

         Debtors, it sent a formal “Notice of Termination of Development Agreements” stating

         unequivocally that “[e]ach Development Agreement . . . has terminated.”

                 255.   Similarly, when the Franchisor sought to terminate the Franchise Agreements for

         the Debtors’ 41 restaurants located in Arizona and Texas, the Franchisor sent a letter with the

         subject line “Re: Termination of Franchise Agreements for Restaurants in Arizona and Texas,”

         stating that the Franchisor was purporting to terminate the Franchise Agreements for the Arizona

         and Texas restaurants, with such termination supposedly retroactive to April 27, 2018.

                 256.   The Franchisor hand-delivered a letter, to the address indicated therein, at

         approximately 8:02 a.m. on May 8, 2018, approximately 4.5 hours after the filing of their

         bankruptcy petitions.

                 257.   Concurrently with the letter purporting to terminate the Franchise Agreements for

         the Debtors’ 41 Arizona and Texas locations, the Franchisor sent a further letter stating that the

         Franchisor agreed that it would “forbear from enforcing its termination rights . . . until May 20,

         2018” for the Debtors’ 133 franchises not located in Arizona or Texas. The Franchisor’s letter




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         further stated: “This agreement to forbear is not an extension or a restarting of the cure period

         referred to in prior Notice, which has already expired, nor is it a new cure period.”

                 258.   The Franchisor did not provide written notice of termination of the Franchise

         Agreements for the 41 Arizona and Texas restaurants, as required under the Franchise

         Agreements, until after the filing of the Debtors’ bankruptcy petitions.

                 259.   The Franchisor’s notice of termination of the Franchise Agreements for the 41

         Arizona and Texas restaurants was void ab initio as a violation of the automatic stay.

                 260.   To date, the Franchisor has not provided any written notice of termination of the

         Franchise Agreements for the Debtors’ 133 franchises not located in Arizona or Texas, as would

         be required under the Franchise Agreements.

                 261.   By virtue of the foregoing allegations, a real and justiciable controversy exists

         concerning the purported termination with respect to the Franchise Agreements.

                 262.   The Court should find and declare that the purported termination notice was

         invalid, the Franchise Agreements were not terminated rendering them property of the Debtors’

         estates, and any attempt to obtain possession of or exercise control over any of the Debtors’

         property is void ab initio.

                                           COUNT VII
                        (DECLARATORY RELIEF AS TO FRANCHISOR’S WILLFUL
                                VIOLATION OF AUTOMATIC STAY)
                                      (Against the Franchisor)

                 263.   The Debtors repeat and reallege each and every allegation in the foregoing

         paragraphs as if fully set forth herein.

                 264.   At approximately 3:30 a.m. (ET) on May 8, 2018, each of the Debtors

         commenced a voluntary case under chapter 11 of the Bankruptcy Code.



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                 265.   At approximately 5:59 a.m. (ET) on May 8, 2018, Robert Hersch, a Senior

         Managing Director at Mastodon, emailed Stephen Joyce (the Franchisor’s CEO), Bryan Adel

         (the Franchisor’s General Counsel), and Lucy Cheong (the Franchisor’s Vice President, Finance)

         informing them of the bankruptcy filing.

                 266.   At approximately 8:02 a.m. on May 8, 2018—approximately 4.5 hours after the

         Debtors filed bankruptcy—the Franchisor hand-delivered a letter, to the address indicated

         therein, with subject line “Re: Termination of Franchise Agreements for Restaurants in Arizona

         and Texas,” stating that the Franchisor was purporting to terminate the Franchise Agreements for

         the Debtors’ 41 restaurants located in Arizona and Texas, with such termination supposedly

         retroactive to April 27, 2018.

                 267.   In addition, also subsequent to the Debtors’ bankruptcy filing on May 8, 2018, the

         Franchisor filed its Complaint for Damages, a Temporary-Restraining Order, and Preliminary

         and Permanent Injunctive Relief in the United States District Court for the District of Kansas.

         See Applebee’s Restaurants LLC v. RMH Franchise Corp., Case No. 18-cv-02226-JAR-GLR (D.

         Kan. May 8, 2018).

                 268.   Section 362(a) of the Bankruptcy Code prohibits the Franchisor from taking any

         action to obtain possession of, or exercise control over, property of the Debtors’ estate.

                 269.   Upon information and belief, the Franchisor was aware of the Debtors’

         bankruptcy filing on the morning of May 8, 2018, prior to sending its purported termination

         notice, and was further aware that it had not validly terminated the Franchise Agreements

         prepetition.

                 270.   The purported notice of termination of the Franchise Agreements that the

         Franchisor sent on May 8, 2018, was void ab initio as a violation of the automatic stay.


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                 271.   Upon information and belief, the Franchisor was aware of the Debtors’

         bankruptcy filing on the morning of May 8, 2018, prior to commencing the Kansas action, and

         was further aware that it had not validly terminated the Franchise Agreements prepetition.

                 272.   The filing of the Kansas action was void ab initio as a violation of the automatic

         stay.

                 273.   By virtue of the foregoing allegations, a real and justiciable controversy exists

         concerning the application of the automatic stay to the Franchisor’s actions postpetition.

                 274.   The Court should find and declare that the purported termination notice and the

         filing of the Kansas action were void ab initio as willful attempts to obtain possession of or

         exercise control over any of the Debtors’ property in violation of the automatic stay.

                                            COUNT VIII
                          (DECLARATORY RELIEF AS TO FRANCHISOR’S NON-
                               EXISTENT POST-TERMINATION RIGHTS)
                                       (Against the Franchisor)

                 275.   The Debtors repeat and reallege each and every allegation in the foregoing

         paragraphs as if fully set forth herein.

                 276.   Section 19 of the Franchise Agreements require the Debtors to refrain from taking

         certain actions post-termination and provide the Franchisor with certain options with respect to

         acquiring the franchised locations.

                 277.   Even assuming that the Franchise Agreements were validly terminated pre-

         petition (which they were not), contractual obligations cease upon the termination of the

         contract.

                 278.   By virtue of the foregoing allegations, a real and justiciable controversy exists

         concerning the existence of the Franchise Agreements (or contractual obligations thereunder)

         after a purported termination.

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                 279.   The Court should find and declare that if any Franchise Agreements were validly

         terminated pre-petition (which they were not), the Debtors’ contractual obligations under those

         agreements ceased upon their termination.

                                             PRAYER FOR RELIEF

                 WHEREFORE, by reason of the foregoing, the Counter-Plaintiffs demand judgment

         against the Counter-Defendants as follows:

                 A.     An award of damages against the Dine Subsidiaries in an amount to be

         determined at trial as a result of their breaches of the Franchise Agreements, and such additional

         amount as is determined by the Court in order to sufficiently and fully compensate the Debtors

         for the lost profits, diminished enterprise value and other damages and losses suffered as a result

         of the Dine Subsidiaries’ actions and/or omissions.

                 B.     An award of damages against the Dine Subsidiaries in an amount to be

         determined at trial as a result of their breaches of the implied covenant and fair dealing, and such

         additional amount as is determined by the Court in order to sufficiently and fully compensate the

         Debtors for the lost profits, diminished enterprise value and other damages and losses suffered as

         a result of the Dine Subsidiaries’ actions and/or omissions.

                 C.     An award of damages against the Dine Subsidiaries in an amount to be

         determined at trial as a result of their breaches of the implied warranty of competence, and such

         additional amount as is determined by the Court in order to sufficiently and fully compensate the

         Debtors for the lost profits, diminished enterprise value and other damages and losses suffered as

         a result of the Dine Subsidiaries’ actions and/or omissions.

                 D.     An award of damages against Dine Brands in an amount to be determined at trial

         as a result of its tortious interference with the contractual relationships among the Debtors and


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         the Dine Subsidiaries, and such additional amount as is determined by the Court in order to

         sufficiently and fully compensate the Debtors for the lost profits, diminished enterprise value and

         other damages and losses suffered as a result of Dine Brands’ actions.

                  E.     An order declaring that the Franchise Agreements were not terminated prepetition

         and thus constitute property of the Debtors’ estates.

                  F.     An order declaring that the purported termination notice and the filing of the

         Kansas action were void ab initio as willful violations of the automatic stay and awarding

         damages incurred by the Debtors as a result of such violations in an amount to be determined at

         trial.

                  G.     In the event that the Court finds and declares certain Franchise Agreements were

         validly terminated prepetition, an order declaring that the Debtors’ contractual obligations under

         any such Franchise Agreements ceased upon their termination.

                  H.     Payment of the Debtors’ attorneys’ fees and expenses incurred in connection with

         this adversary proceeding.

                  I.     Such other or further relief as the Court finds just or proper.

                                           RULE 7012(b) STATEMENT

                  Pursuant to Bankruptcy Rule 7012(b), and Local Rule 7012-1, the Debtors hereby give

         notice that they consent to entry of final orders or judgment by the Bankruptcy Court with

         respect to their Counterclaims and the claims asserted against them in the Complaint.




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